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         EXHIBIT A
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  UNITED STATES DISTRICT COURT                          SOUTHERN DISTRICT OF TEXAS


Lauren Davis, on behalf of herself and  §
others similarly situated,              §
                                        §
      Plaintiff,                        §
                                        §
vs.                                     §                     Civil Action No. 4:19-cv-1961
                                        §
Mindshare Ventures LLC, d/b/a AtlasRTX, §
Trendmaker Homes DFW, LLC, and          §
Trendmaker Homes, Inc.,                 §
                                        §
      Defendants.                       §

      DECLARATION OF AARON D. RADBIL IN SUPPORT OF PLAINTIFF’S
    UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
                           SETTLEMENT

       Pursuant to 28 U.S.C. § 1746, I declare as follows:

       1.      My name is Aaron D. Radbil.

       2.      I am over twenty-one years of age.

       3.      I am fully competent to make the statements included in this declaration.

       4.      I have personal knowledge of the statements included in this declaration.

       5.      I am a partner at Greenwald Davidson Radbil PLLC (“GDR”).

       6.      I am counsel for Lauren Davis (“Plaintiff”).

       7.      I am admitted to practice before this Court.

       8.      I submit this declaration in support of Plaintiff’s unopposed motion for preliminary

approval of the parties’ class action settlement.

                                               GDR

       9.      GDR has been appointed class counsel in a number of class actions under the



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Telephone Consumer Protection Act (“TCPA”), including:

   •   Sheean v. Convergent Outsourcing, Inc., 2019 WL 6039921 (E.D. Mich. Nov. 14, 2019);

   •   Knapper v. Cox Commc’ns, Inc., 329 F.R.D. 238 (D. Ariz. 2019);

   •   Williams v. Bluestem Brands, Inc., 2019 WL 1450090 (M.D. Fla. Apr. 2, 2019);

   •   Reyes v. BCA Fin. Servs., Inc., 2018 WL 3145807 (S.D. Fla. June 26,
       2018), reconsideration denied, 2018 WL 5004864 (S.D. Fla. Oct. 15, 2018);

   •   Martinez, et al., v. Medicredit, Inc., No. 4:16-cv-01138 ERW, Doc. 95 (E.D. Mo. Dec. 15,
       2017);

   •   Johnson v. NPAS Solutions, LLC, 2017 WL 6060778 (S.D. Fla. Dec. 4, 2017);

   •   Luster v. Wells Fargo Dealer Servs., Inc., No. 1:15-cv-01058-TWT, Doc. 80 (N.D. Ga.
       Nov. 8, 2017);

   •   Prather v. Wells Fargo Bank, N.A., No. 1:15-cv-04231, Doc. 55 (N.D. Ga. Aug. 31, 2017);

   •   Johnson v. Navient Solutions, Inc., No. 1:15-cv-00716-LJM-MJD, Doc. 177 (S.D. Ind. July
       13, 2017);

   •   James v. JPMorgan Chase Bank, N.A., 2017 WL 2472499 (M.D. Fla. June 5, 2017);

   •   Schwyhart v. AmSher Collection Servs., Inc., 2017 WL 1034201 (N.D. Ala. Mar. 17, 2017);

   •   Cross v. Wells Fargo Bank, N.A., No. 1:15-cv-01270-RWS, Doc. 103 (N.D. Ga. Feb. 10,
       2017);

   •   Markos v. Wells Fargo Bank, N.A., No. 1:15-cv-01156-LMM, Doc. 90 (N.D. Ga. Jan. 30,
       2017);

   •   Prater v. Medicredit, Inc. and The Outsource Grp., Inc., 2015 WL 8331602 (E.D. Mo.
       Dec. 7, 2015);

   •   Jones v. I.Q. Data Int’l, Inc., 2015 WL 5704016 (D.N.M. Sept. 23, 2015); and

   •   Ritchie v. Van Ru Credit Corp., 2014 WL 3955268 (D. Ariz. Aug. 13, 2014).

       10.    As class counsel in these TCPA actions, GDR helped to recover over $100 million

for class members.




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       11.     During the past five years, GDR has also been appointed class counsel in dozens of

class actions under consumer protection statutes other than the TCPA, such as the Fair Debt

Collection Practices Act (“FDCPA”), including:

   •   Dickens on behalf of estate of Dickens v. GC Servs. Ltd. P’ship, 2019 WL 2280456 (M.D.
       Fla. May 28, 2019);

   •   Kagno v. Bush Ross, P.A., 2017 WL 6026494 (M.D. Fla. Dec. 4. 2017);

   •   Johnston v. Kass Shuler, P.A., 2017 WL 1231070 (M.D. Fla. Mar. 29, 2017);

   •   Jallo v. Resurgent Capital Servs., L.P., 2017 WL 914291 (E.D. Tex. Mar. 7, 2017);

   •   Macy v. GC Servs. Ltd. P’ship, 2017 WL 489420 (W.D. Ky. Feb. 6, 2017);

   •   Rhodes v. Nat’l Collection Sys., Inc., 317 F.R.D. 579 (D. Colo. 2016);

   •   McCurdy v. Prof’l Credit Serv., 2016 WL 5853721 (D. Or. Oct. 3, 2016);

   •   Schuchardt v. Law Office of Rory W. Clark, 314 F.R.D. 673 (N.D. Cal. 2016);

   •   Globus v. Pioneer Credit Recovery, Inc., 2016 WL 4069285 (W.D.N.Y. July 27, 2016);

   •   McWilliams v. Advanced Recovery Sys., Inc., 310 F.R.D. 337 (S.D. Miss. 2015);

   •   Rhodes v. Olson Assocs., P.C., d/b/a Olson Shaner, 83 F. Supp. 39 1096 (D. Colo. 2015);

   •   Roundtree v. Bush Ross, P.A., 304 F.R.D 644 (M.D. Fla. 2015); and

   •   Donnelly v. EquityExperts.org, LLC, No. 13-10017, 2015 WL 249522 (E.D. Mich. Jan. 14,
       2015).

       12.     Multiple district courts have commented on GDR’s useful knowledge and

experience in connection with class action litigation.

       13.     For example, in Schwyhart v. AmSher Collection Servs., Inc., Judge John E. Ott,

Chief Magistrate Judge of the Northern District of Alabama, stated upon granting final approval

of a TCPA settlement in which he appointed GDR as class counsel:

       I cannot reiterate enough how impressed I am with both your handling of the case,
       both in the Court’s presence as well as on the phone conferences, as well as in the


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       written materials submitted. . . . I am very satisfied and I am very pleased with what
       I have seen in this case. As a judge, I don’t get to say that every time, so that is
       quite a compliment to you all, and thank you for that.

No. 2:15-cv-1175-JEO (N.D. Ala. Mar. 15, 2017).

       14.     In Ritchie v. Van Ru Credit Corp., Judge Stephen McNamee, Senior U.S. District

Court Judge for the District of Arizona, stated upon granting final approval of the TCPA class

settlement at issue:

       I want to thank all of you. It’s been a pleasure. I hope that you will come back and
       see us at some time in the future. And if you don’t, I have a lot of cases I would like
       to assign you, because you’ve been immensely helpful both to your clients and to
       the Court. And that’s important. So I want to thank you all very much.

Case No. CIV-12-1714 (D. Ariz. July 21, 2014).

       15.     In McWilliams v. Advanced Recovery Sys., Inc., Judge Carlton W. Reeves of the

Southern District of Mississippi described GDR as follows:

       More important, frankly, is the skill with which plaintiff’s counsel litigated this
       matter. On that point there is no disagreement. Defense counsel concedes that her
       opponent—a specialist in the field who has been class counsel in dozens of these
       matters across the country—‘is to be commended for his work’ for the class, ‘was
       professional at all times’ . . . , and used his ‘excellent negotiation skills’ to achieve
       a settlement fund greater than that required by the law.

       The undersigned concurs . . . Counsel’s level of experience in handling cases
       brought under the FDCPA, other consumer protection statutes, and class actions
       generally cannot be overstated.

No. 3:15-CV-70-CWR-LRA, 2017 WL 2625118, at *3 (S.D. Miss. June 16, 2017).

       16.     Similarly, in Roundtree v. Bush Ross, P.A., Judge James D. Whittemore of the

Middle District of Florida wrote, in certifying three separate classes and appointing GDR class

counsel: “Greenwald [Davidson Radbil PLLC] has been appointed as class counsel in a number of

actions and thus provides great experience in representing plaintiffs in consumer class actions.”

304 F.R.D at 661.




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       17.     As well, Judge Steven D. Merryday of the Middle District of Florida wrote in

appointing GDR class counsel in James v. JPMorgan Chase Bank, N.A. that “Michael L.

Greenwald, James L. Davidson, and Aaron D. Radbil of Greenwald Davidson Radbil PLLC, each

. . . has significant experience litigating TCPA class actions.” 2016 WL 6908118, at *1.

       18.      In Bellum v. Law Offices of Frederic I. Weinberg & Assocs., P.C., Judge C. Darnell

Jones II of the Eastern District of Pennsylvania took care to point out that GDR was appointed as

class counsel “precisely because of their expertise and ability to represent the class in this matter.”

2016 WL 4766079, at *5 (E.D. Pa. Sept. 13, 2016).

       19.     And in Donnelly v. EquityExperts.org, LLC, Judge Terrence G. Berg of the Eastern

District of Michigan stated upon approving an FDCPA class action settlement and appointing GDR

as class counsel:

       [W]e see a fair number of FDCPA cases that are not necessarily at this level of
       sophistication or seriousness but I think that the—both sides appear to have really
       approached this with a positive attitude in trying to reach a settlement that from
       what I can see, appears to be the right thing to do in a reasonable and appropriate
       way.

Transcript of Hearing on Motion for Final Approval of Class Action Settlement, No. 13-10017, at

16 (E.D. Mich. Jan. 14, 2015).

       20.     Additional information about GDR is available at www.gdrlawfirm.com.

                                          Aaron D. Radbil

       21.     I graduated from the University of Arizona in 2002 and from the University of

Miami School of Law in 2006.

       22.     I have extensive experience litigating consumer protection class actions, including

those under the TCPA and FDCPA.

       23.     In addition to my experience litigating consumer protection class actions, I have




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briefed, argued, and prevailed on a variety of issues of significant consumer interest before federal

courts of appeals, including, for instance:

    •   Dickens v. GC Servs. Ltd. P’ship, No. 16-17168, 2017 WL 3616345 (11th Cir. Aug. 23,
        2017);

    •   Hernandez v. Williams, Zinman & Parham PC, 829 F.3d 1068 (9th Cir. 2016);

    •   Lea v. Buy Direct, L.L.C., 755 F.3d 250 (5th Cir. 2014);

    •   Payne v. Progressive Fin. Servs., Inc., 748 F.3d 605 (5th Cir. 2014);

    •   Stout v. FreeScore, LLC, 743 F.3d 680 (9th Cir. 2014);

    •   Yunker v. Allianceone Receivables Mgmt., Inc., 701 F.3d 369 (11th Cir. 2012);

    •   Guajardo v. GC Servs., LP, No. 11-20269, 2012 WL 5419505 (5th Cir. Nov. 7, 2012);

    •   Sorensen v. Credit Int’l Corp., 475 F. App’x 244 (9th Cir. 2012);

    •   Ponce v. BCA Fin. Serv., Inc., 467 F. App’x 806 (11th Cir. 2012);

    •   Talley v. U.S. Dep’t of Agric., 595 F. 3d 754 (7th Cir. 2010), reh’g en banc granted, opinion

        vacated (June 10, 2010), on rehearing en banc (September 24, 2010), decision affirmed,

        No. 09-2123, 2010 WL 5887796 (7th Cir. Oct. 1, 2010); and

    •   Oppenheim v. I.C. Sys., Inc., 627 F. 3d 833 (11th Cir. 2010).

                                      Michael L. Greenwald

        24.     Mr. Greenwald graduated from the University of Virginia in 2001 and Duke

University School of Law in 2004.

        25.     Prior to forming GDR, Mr. Greenwald spent six years as a litigator at Robbins

Geller Rudman & Dowd LLP (“Robbins Geller”)—one of the nation’s largest plaintiff’s class

action firms, where he focused on complex class actions, including securities and consumer

protection litigation.

        26.     While at Robbins Geller, Mr. Greenwald served on the litigation teams responsible


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for the successful prosecution of numerous class actions, including: In re Evergreen Ultra Short

Opportunities Fund Sec. Litig. (D. Mass.); In re Red Hat, Inc. Sec. Litig. (E.D.N.C.); City of Ann

Arbor Emps.’ Ret. Sys. v. Sonoco Prods. Co. (D.S.C.); Norfolk Cnty. Ret. Sys. v. Ustian (N.D. Ill.);

Romero v. U.S. Unwired, Inc. (E.D. La.); Lefkoe v. Jos. A. Bank Clothiers, Inc. (D. Md.); and In

re Odimo, Inc. Sec. Litig. (Fla.).

        27.    Mr. Greenwald started his career as an attorney at Holland & Knight LLP.

                                       James L. Davidson

        28.    Mr. Davidson graduated from the University of Florida in 2000 and the University

of Florida Fredric G. Levin College of Law in 2003.

        29.    He has been appointed class counsel in a host of consumer protection class actions.

        30.    Prior to forming GDR, Mr. Davidson spent five years as a litigator at Robbins

Geller, where he focused on complex class actions, including securities and consumer protection

litigation.

        31.    While at Robbins Geller, Mr. Davidson served on the litigation teams responsible

for the successful prosecution of numerous class actions, including: Local 731 I.B. of T. Excavators

and Pavers Pension Trust Fund v. Swanson; In re Pet Food Prods. Liability Litig.; In re

Mannatech, Inc. Sec. Litig.; In re Webloyalty, Inc. Mktg. and Sales Practices Litig.; and In re

Navisite Migration Litig.

                                        Jesse S. Johnson

        32.    Mr. Johnson earned his Bachelor of Science degree in Business Administration

from the University of Florida, where he graduated magna cum laude in 2005.

        33.    He earned his Juris Doctor degree with honors from the University of Florida

Fredric G. Levin College of Law in 2009, along with his Master of Arts in Business Administration




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from the University of Florida Hough Graduate School of Business the same year.

       34.    While an attorney at GDR, Mr. Johnson has been appointed class counsel in more

than a dozen consumer protection class actions, including:

   •   Spencer v. #1 A LifeSafer of Arizona LLC, 2019 WL 1034451 (D. Ariz. Mar. 4, 2019);

   •   Aikens v. Mortgage Default Services, LLC, No. 2:17-cv-01519-RSL, Doc. 47 (W.D. Wash.
       Sept. 7, 2018);

   •   Smith v. Cohn, Goldberg & Deutsch, LLC, No. 1:17-cv-02291-RDB, Doc. 25 (D. Md. Mar.
       8, 2018);

   •   Kagno v. Bush Ross, P.A., 2017 WL 6026494 (M.D. Fla. Dec. 4, 2017);

   •   Johnston v. Kass Shuler, P.A., 2017 WL 1231070 (M.D. Fla. Mar. 29, 2017);

   •   Considine v. Sharinn & Lipshie, P.C., 2017 WL 1233845 (E.D.N.Y. Mar. 29, 2017);

   •   Cobb v. Edward F. Bukaty, III, PLC, 2017 WL 424904 (E.D. La. Jan. 27, 2017);

   •   Fenderson v. Frederick J. Hanna & Assocs., P.C., No. 1:15-cv-00964-ODE-JFK, Doc. 52
       (N.D. Ga. Oct. 17, 2016);

   •   Marcoux v. Susan J. Szwed, P.A., 2016 WL 5720713 (D. Me. Oct. 3, 2016);

   •   Durham v. Schlee & Stillman, LLC, No. 8:15-cv-01652-GJH, Doc. 23 (D. Md. Oct. 3,
       2016);

   •   Kausch v. Berman & Rabin, P.A., 2016 WL 3944685 (E.D. Mo. July 8, 2016);

   •   Schell v. Frederick J. Hanna & Assocs., P.C., 2016 WL 3654472 (S.D. Ohio July 8, 2016);

   •   Kemper v. Andreu, Palma & Andreu, PL, 2016 WL 3545935 (S.D. Fla. June 23, 2016);

   •   Chamberlin v. Mullooly, Jeffrey, Rooney & Flynn, LLP, No. 15-2361, Doc. 44 (D.N.J. June
       2, 2016);

   •   Hall v. Frederick J. Hanna & Assocs., P.C., 2016 WL 2865081 (N.D. Ga. May 10, 2016);

   •   Lehmeyer v. Messerli & Kramer, P.A., 2016 WL 1576439 (D. Minn. Apr. 15, 2016);

   •   Garza v. Mitchell Rubenstein & Assocs., P.C., 2015 WL 9594286 (D. Md. Dec. 28, 2015);
       and



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   •      Baldwin v. Glasser & Glasser, P.L.C., 2015 WL 7769207 (E.D. Va. Dec. 1, 2015).

          35.    Mr. Johnson started his legal career as an associate at Robbins Geller, where he

served on the litigation teams responsible for the successful prosecution of numerous class actions,

including: Sterling Heights Gen. Emps.’ Ret. Sys. v. Hospira, Inc., No. 1:11-cv-08332 (N.D. Ill.);

Eshe Fund v. Fifth Third Bancorp, No. 1:08-cv-00421 (S.D. Ohio); City of St. Clair Shores Gen.

Emps.’ Ret. Sys. v. Lender Processing Servs., Inc., No. 3:10-cv-01073 (M.D. Fla.); and In re

Synovus Fin. Corp., No. 1:09-cv-01811 (N.D. Ga.).

                                       Alexander D. Kruzyk

          36.    Alexander D. Kruzyk earned his Bachelor of Management and Organizational

Studies from the University of Western Ontario in 2011 and his Juris Doctor degree with honors

from the University of Florida Fredric G. Levin College of Law in 2014.

          37.    Prior to joining GDR in 2017, Mr. Kruzyk was an associate with Robbins Geller.

                                 Summary of Procedural History

          38.    On June 3, 2019, Plaintiff filed her class action complaint against Defendants,

through which she alleged violations of the TCPA. ECF No. 1.

          39.    Defendants then filed their motion for a more definite statement. ECF No. 15.

          40.    Upon receiving additional information from Defendants through the discovery

process, Plaintiff subsequently filed her amended class action complaint. ECF No. 16.

          41.    Defendants next filed their motion to dismiss, ECF No. 19, and motion to stay. ECF

No. 20.

          42.    Plaintiff, in turn, filed a stipulation to dismiss counts II and IV of her amended

complaint, ECF No. 21, and a response to Defendants’ motion to stay. ECF No. 23.

          43.    On September 26, 2019, Plaintiff served Defendants with written discovery



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requests, including seventeen interrogatories, forty-four requests for production, and twelve

requests for admission.

        44.    Defendants later filed answers to Plaintiff’s amended class action complaint. ECF

Nos. 28, 29.

        45.    Upon receiving additional information from Defendants through the discovery

process, Plaintiff filed her second amended class action complaint. ECF No. 34.

        46.    On December 11, 2019, the parties mediated this matter with Bruce Friedman, Esq.,

of JAMS.

        47.    Weeks later, after continued negotiation, the parties reached an agreement to

resolve this matter.

                                  Summary of the Settlement

        48.    The parties agreed to resolve this matter on behalf of the following class:

               All persons throughout the United States (1) to whom Trendmaker DFW or
               AtlasRTX, on behalf of Trendmaker DFW or Trendmaker Homes, sent, or
               caused to be sent, a text message, (2) directed to a number assigned to a
               cellular telephone service, (3) from May 30, 2015 through December 11,
               2019, (4) using the AtlasRTX platform/services.

        49.    Defendants represent that the class includes approximately 9,863 members.

        50.    To compensate class members, Defendants will create a non-reversionary common

fund.

        51.    The amount of the fund will be $1.3 million.

        52.    Paid from the common fund will be: compensation to class members; the cost of

notice to class members, and claims administration for class members; litigation costs and

expenses, for which Plaintiff’s counsel will petition this Court; reasonable attorneys’ fees,

calculated as a percentage of the common fund, for which Plaintiff’s counsel will petition this




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Court; and an incentive award to Plaintiff, for which Plaintiff will petition this Court.

          53.   A third-party claims administrator will mail notice of the parties’ settlement directly

to class members, together will a detachable claim form that class members can use to submit

claims.

          54.   After a competitive bidding process, the parties have selected KCC, LLC as the

claims administrator.

          55.   The claims administrator will also establish a website that provides information

about the settlement, and through which class members can submit claims electronically.

          56.   As well, the claims administrator will set up a toll-free number that provides

information about the settlement, and through which class members can submit claims by

telephone.

          57.   Each class member who submits a valid, approved claim will be entitled to a pro

rata share of the non-reversionary common fund after deducting costs and expenses of providing

notice of, and administrating the settlement; an award of attorneys’ fees, subject to this Court’s

approval; reimbursement of litigation costs and expenses, subject to this Court’s approval; and

Plaintiff’s incentive award, subject to this Court’s approval.

          58.   Any class member who wishes to exclude himself or herself from the settlement

can submit a request for exclusion.

          59.   Likewise, any class member who wishes to object to the settlement can submit an

objection.

          60.   Upon this Court’s entry of a final judgment, Plaintiff and each non-excluded class

member will release and forever discharge claims they have against Defendants under the TCPA

and related state laws that regulate the use of automatic dialing equipment.




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                              Opinion of Plaintiff and her Counsel

       61.     Given the meaningful recovery for the class, considering that the settlement

compares favorably with other TCPA class action settlements, and understanding the risks

associated with continued litigation, Plaintiff and her counsel firmly believe that the settlement is

fair, reasonable, and adequate, and in the best interests of class members.

              GDR’s Willingness and Ability to Protect Absent Class Members

       62.     GDR has, and will continue to, vigorously protect the interests of the members of

the proposed class.

       63.     GDR has advanced all costs necessary to successfully prosecute this action.

                                      Settlement Documents

       64.     Attached is a true and correct copy of the settlement agreement and its exhibits.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 14, 2020                         /s/ Aaron D. Radbil
                                                       Aaron D. Radbil




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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

Lauren Davis, on behalf of herself and    §
others similarly situated,                §
                                          §
         Plaintiff,                       §
                                          §   Civil Action No. 4:19-cv-1961
vs.                                       §
                                          §   JUDGE CHARLES ESKRIDGE
Mindshare Ventures LLC, d/b/a AtlasRTX,   §
and Trendmaker Homes, Inc.,               §
                                          §
         Defendants.                      §

                       SETTLEMENT AGREEMENT AND RELEASE
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        This Settlement Agreement and Release is entered into between and among the following

parties, by and through their respective counsel: Plaintiff Lauren Davis (“Plaintiff” or “Class

Representative”), on behalf of herself and the Settlement Class, and Defendants Trendmaker

Homes, Inc. (“Trendmaker Homes”), Trendmaker Homes DFW, L.L.C. (“Trendmaker DFW”)

(Trendmaker Homes and Trendmaker DFW are collectively, “Trendmaker”) and Mindshare

Ventures, LLC d/b/a AtlasRTX (“AtlasRTX”) (collectively with Trendmaker, the “Defendants”).

Plaintiff and Defendants will sometimes be referred to together as the “Parties,” or, individually,

as a “Party.”

        WHEREAS, on May 30, 2019, Plaintiff filed the Class Action Complaint (the

“Complaint”) on behalf of herself and a putative class in the lawsuit styled Lauren Davis v.

Mindshare Ventures LLC d/b/a AtlasRTX, et al., Case No. 4:19-cv-1961 (S.D. Tex.) (the

“Action”), which asserts claims under the Telephone Consumer Protection Act (“TCPA”), and

which was last amended on December 4, 2019 to add Trendmaker DFW as a defendant;

        WHEREAS, Plaintiff alleges that she and members of the putative class received text

messages from or on behalf of the Defendants without the requisite prior express consent, which

allegedly harmed her and the putative class members (the “Allegations”);

        WHEREAS, Plaintiff alleges that, as a result of the Allegations, she and other similarly

situated individuals are entitled to injunctive relief, statutory damages, treble damages, attorneys’

fees and costs;

        WHEREAS, Defendants deny such Allegations, deny liability under any pleaded legal

theory and deny that Plaintiff is entitled to any relief;

        WHEREAS, on December 11, 2019, the Parties and their counsel participated in a

mediation in Los Angeles, California with JAMS mediator Bruce A. Friedman, Esq., in an attempt



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to resolve the Action on a class-wide basis while avoiding the cost, delay, and uncertainty of further

litigation, trial and appellate practice;

        WHEREAS, the Parties’ counsel and Defendants’ representatives reached a mediated

agreement to resolve the Action on a class-wide basis;

        WHEREAS, for settlement purposes only, Plaintiff requests that the Court certify the

Settlement Class and appoint her as Class Representative and her lawyer—Aaron D. Radbil of

Greenwald Davidson Radbil PLLC—as Class Counsel in this case;

        WHEREAS, based on their investigation and discovery in the Action and the experience

of Class Counsel, Plaintiff and Class Counsel have concluded that the terms and conditions of this

Agreement are fair, reasonable, and adequate to, and in the best interest of, the Settlement Class;

and

        WHEREAS, Defendants deny any and all liability or wrongdoing to the Class

Representative and to the Settlement Class. Nonetheless, Defendants have concluded that further

litigation would be protracted and expensive, have taken into account the uncertainty and risks

inherent in this Action, and have determined that it is desirable that the Action and the Allegations

be fully, completely, and finally settled in the manner and on the terms set forth herein.

        NOW, THEREFORE, in exchange for the mutual covenants and promises contained herein

and other good and valuable consideration, the receipt and sufficiency of which are hereby

acknowledged, the Parties and their counsel agree that the Action shall be settled, compromised,

and/or dismissed and with prejudice on the terms and conditions in this Agreement, and without

costs (except as provided herein), subject to Court approval of this Agreement after a hearing and

on finding that it is a fair, reasonable, and adequate settlement.




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I.      DEFINITIONS

        In addition to the terms defined above and at other places in this Agreement, the following

defined terms have the meaning set forth below:

        A.     “Administrator” means KCC, LLC (“KCC”), which, subject to Court approval,

shall be responsible for administrative tasks, which may include, without limitation: (a) arranging

for distribution of the Class Notice and Claim Form to Settlement Class Members; (b) making any

mailings to Settlement Class Members required under this Agreement; (c) forwarding written

inquiries from Settlement Class Members to Class Counsel or their designee; (d) establishing the

Settlement Website; (e) receiving and processing Settlement Claims Forms and distributing

payments to Settlement Class Members; and (f) otherwise assisting with implementing and

administrating this Agreement, subject in all cases to approval by Class Counsel and Counsel for

Defendant. Class Counsel and Counsel for Defendant may, by agreement, substitute a different

entity as Administrator, subject to approval by the Court if the Court has previously approved the

Settlement preliminarily or finally. In the absence of agreement, either Class Counsel or Defendant

may move the Court to substitute a different entity as Administrator on a showing of good cause.

        B.     “Agreement” means this Settlement Agreement and Release and all attachments

and exhibits hereto.

        C.     “Attorneys’ Fees and Expenses” means the total recovery that may be awarded to

Class Counsel to compensate them for all attorneys’ fees, costs, and adequately supported expenses

of any kind (including, but not limited to, mediation fees, travel, filing fees, court reporter, and

videographer expenses, expert fees and costs, and document review and production costs) incurred

by Plaintiff or Class Counsel in connection with the Action.




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       D.     “Claim” means a written request for a Claim Settlement Payment submitted by a

Settlement Class Member to the Administrator in exchange for a release.

       E.     “Claim Deadline” means the last date by which a Claim submitted to the

Administrator by a Settlement Class Member for a Claim Settlement Payment must be postmarked

or uploaded. All Claims postmarked or uploaded before the Claim Deadline shall be timely, and

all Claims postmarked or uploaded after the Claim Deadline shall be untimely and barred from

entitlement to any Claim Settlement Payment.

       F.     “Claim Form” means the form attached as Exhibit 1 to this Agreement and/or as

ultimately approved by the Court.

       G.     “Claim Settlement Check” means the check containing the Claim Settlement

Payment for each Settlement Class Member who submits a valid and timely Claim.

       H.     “Claim Settlement Payment” means the payment to be made to Settlement Class

Members who submit properly completed and timely Claim Forms to the Administrator, does not

object or opt-out, and who otherwise qualify for such relief under this Agreement.

       I.     “Claimant” means any Settlement Class Member who submits a Claim in

accordance with this Agreement.

       J.     “Class Counsel” means: Aaron D. Radbil, Greenwald Davidson Radbil PLLC, 401

Congress Avenue, Suite 1540, Austin, Texas 78701.

       K.     “Class Notice” means the program of notice described in Section III(B) of this

Agreement to be provided to Settlement Class Members, which will notify Settlement Class

Members about the details of the Settlement.

       L.     “Class Notice Date” means the last date on which Class Notice can be disseminated,

which shall be set by the Court in the Preliminary Approval Order as approximately thirty (30)



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days after entry of the Preliminary Approval Order.

        M.     “Class Period” means the time period from May 30, 2015 through December 11,

2019.

        N.     “Confidential Information” means proprietary or commercially sensitive

information or personal information subject to state and federal privacy laws that the Parties agree

to protect in this Agreement from disclosure and dissemination to the public or any third-party or

entity other than the Administrator.

        O.     “Counsel for Defendants” or “Counsel for Defendant” means: Ana Tagvoryan,

Blank Rome LLP, 2029 Century Park East, 6th Floor, Los Angeles, California 90067 and Joshua

A. Huber, Blank Rome LLP, 717 Texas Avenue, Suite 1400, Houston, Texas 77002.

        P.     “Court” means the U.S. District Court for the Southern District of Texas, Houston

Division that is assigned to and presiding over the Action.

        Q.     “Days” means calendar days, except that, when computing any period of time under

this Agreement, the day of the act, event, or default from which the designated period of time

begins to run shall not be included. Further, when computing any period of time under this

Agreement, the last day of the period so computed shall be included, unless it is a Saturday,

Sunday, or legal holiday, in which event the period runs until the end of the next day that is not a

Saturday, Sunday, or legal holiday.

        R.     “Effective Date” means the day on which the Final Approval Order becomes final.

        S.     “Final Approval Hearing” means a hearing set by the Court, at least 105 days after

entry of the Preliminary Approval Order, for the purpose of: (i) determining the fairness, adequacy,

and reasonableness of this Agreement and associated settlement administration in accordance with

class action procedures and requirements; and (ii) entering the Final Approval Order.



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       T.      “Final” or “Final Judgment” as used in this Agreement means the later of the date

that (i) the time has run for any appeals from the Final Approval Order or (ii) any such appeals

have been dismissed or resolved in favor of approving, or affirming the approval of, this

Agreement.

       U.      “Final Approval Order” means the order and judgment to be entered by the Court,

substantially in the form, and without material change to, the order attached hereto as Exhibit 3,

approving this Agreement as fair, adequate, and reasonable and in the best interests of the

Settlement Class as a whole in accordance with the Federal Rules of Civil Procedure, and making

such other findings and determinations as the Court deems necessary and appropriate to effectuate

the terms of this Agreement, including granting Final Approval to the Settlement and ruling on

Class Counsel’s application for attorneys’ fees and expenses and the Service Award for the Class

Representative. If the Court enters separate orders addressing the matters set forth in this

paragraph, then the Final Approval Order includes all such orders.

       V.      “Long-Form Notice” means the notice that is made available on the Settlement

Website and upon request from the Administrator, in substantially the form attached as Exhibit 2

to this Agreement.

       W.      “Mail Notice” means the postcard individual notice that is mailed by the

Administrator to Settlement Class Members, in substantially the form attached as Exhibit 4 to this

Agreement.

       X.      “Notice and Administrative Costs” means the reasonable costs and expenses

authorized by the Court and approved by Class Counsel and Counsel for Defendants of

disseminating the Class Notice in accordance with the Preliminary Approval Order, and all

reasonable and authorized costs and expenses incurred by the Administrator in administering the



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Settlement, including, but not limited to, costs and expenses associated with determining mailing

addresses for Settlement Class Members, assisting Settlement Class Members, processing claims,

escrowing funds, and issuing and mailing Settlement Payments.

         Y.    “Objection Deadline” means the date identified in the Preliminary Approval Order

and Class Notice by which a Settlement Class Member must serve written objections, if any, to

the Settlement to be able to object to the Settlement. The Objection Deadline shall be seventy-five

(75) days after entry of the Preliminary Approval Order.

         Z.    “Opt-Out Deadline” means the date identified in the Preliminary Approval Order

and Class Notice by which a Request for Exclusion must be filed in writing with Class Counsel

(or the Administrator) for a Settlement Class Member to be excluded from the Settlement Class.

The Opt-Out Deadline shall be seventy-five (75) days after entry of the Preliminary Approval

Order.

         AA.   “Preliminary Approval Order” means an order to be entered by the Court

provisionally certifying the Settlement Class and granting preliminary approval to the Settlement,

substantially in the form attached hereto as Exhibit 5, without material change.

         BB.   “Released Claims” means all claims for relief, whether known or unknown,

suspected or unsuspected, that arise out of, concern or relate to the Telephone Consumer

Protection Act (“TCPA”) and other related state laws regarding telemarketing and/or the use of

an automatic telephone dialing system to make calls, as of the date of a final Court order

approving the Settlement and dismissing the case with prejudice, and which arise from calls

made or text messages sent by or on behalf of Defendants to Settlement Class Members.




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          CC.    “Released Parties” means Trendmaker Homes, Trendmaker DFW and AtlasRTX,

and each of their respective affiliates, representatives, parents, subsidiaries, agents, insurers,

officers, employees, predecessors, successors and assigns.

          DD.    “Request for Exclusion” means a written request from a Settlement Class Member

that seeks to exclude the Settlement Class Member from the Settlement Class.

          EE.    “Service Award” means any approved payment to the Class Representative.

          FF.    “Settlement” means the settlement set forth in this Agreement.

          GG.    “Settlement Amount” means the total sum of one million three hundred thousand

dollars ($1,300,000.00) Defendants agree to pay to the Settlement Fund to settle this case pursuant

to this Agreement.

          HH.    “Settlement Class” means all members of the class of persons in this Action that

will be certified by the Court for settlement purposes as follows:

          All persons throughout the United States (1) to whom Trendmaker DFW or
          AtlasRTX, on behalf of Trendmaker DFW or Trendmaker Homes, sent, or caused
          to be sent, a text message, (2) directed to a number assigned to a cellular telephone
          service, (3) from May 30, 2015 through December 11, 2019, (4) using the
          AtlasRTX platform/services.

The Settlement Class consists of approximately 9,863 members and excludes the following: (1)

the trial judge presiding over this case; (2) Defendants, as well as any parent, subsidiary, affiliate,

or control person of Defendants, and their officers, directors, agents, servants, or employees of

Defendants; (3) any of the Released Parties; (4) any Settlement Class Member who has timely

opted out of this proceeding; and (5) Plaintiff’s Counsel, their employees, and their immediate

family.




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         II.     “Settlement Class Data” means data relating to the text messages which were sent

by Defendants, according to Defendants’ records. The Settlement Class Data shall be treated as

Confidential Information.

         JJ.    “Settlement Class Member(s)” means any member of the Settlement Class.

         KK.    “Settlement Class Payment List” means the list of all Settlement Class Members

who filed a Claim; whether the Claim was rejected or accepted, and, if rejected, the reason it was

rejected; the address to which the Claim Settlement Check shall be sent; and the total amount of

Claim Settlement Payments to be made.

         LL.    “Settlement Fund” means the Settlement Amount paid by Defendant into a non-

reversionary common fund, to be used, subject to the Court’s approval, for payment of all

Settlement Payments, all Attorneys’ Fees and Expenses, all Notice and Administration Costs, and

any Service Award in settlement in full of this Action.

         MM. “Settlement Website” means the website prepared by the Administrator in

connection with the process of providing Class Notice to Settlement Class Members.

II.      SETTLEMENT TERMS

         A.     Certification of Settlement Class and Conditional Nature of Agreement

         For settlement purposes only, Defendants conditionally agree and consent to certification

of the Settlement Class. Defendants’ conditional agreement is contingent on: (i) the Parties’

execution of this Agreement, (ii) the Court’s entry of the Final Approval Order, and (iii) the Final

Approval Order becoming Final. Except as provided below, if this Agreement, for any reason,

does not receive Final Approval, if the Final Approval Order does not become Final, or if the

Agreement is otherwise validly terminated per the terms of this Agreement, it shall be null and

void, it shall be of no force or effect whatsoever, it shall not be referred to or used for any purpose



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whatsoever, and the negotiation, terms, and entry of the Agreement shall remain inadmissible

under the Federal Rules of Civil Procedure, Federal Rule of Evidence 408, and any applicable state

law or rule of civil procedure or evidence.

       Defendants deny all claims, liability, damages, losses, penalties, interest, fees, restitution,

and all other forms of relief that were or could have been sought in the Action, as well as all class

action allegations asserted in the Action. Defendants have agreed to resolve this Action through

this Agreement, but if this Agreement is deemed void or Final Approval does not occur,

Defendants do not waive, but rather expressly reserve, all rights to challenge all such claims and

allegations in the Action on all available procedural, evidentiary, and factual grounds, including,

without limitation, the ability to challenge on any grounds whether any class can be certified and

to assert any and all defenses or privileges. The Class Representative and Class Counsel agree that

Defendants retain and reserve all of these rights and agree not to take a position to the contrary.

       B.      Settlement Class Relief

               1.      Settlement Fund

       Within seven (7) days of the Effective Date, Defendants shall deposit the Settlement

Amount into an interest-bearing account maintained by the Claims Administrator. The Settlement

Fund may be used, subject to the Court’s approval, to cover payment of all Notice and

Administration Costs, all approved Attorneys’ Fees and Expenses, any Service Award and all

Claim Settlement Payments.

       Each Settlement Class Member shall look solely to the Settlement Fund for satisfaction of

all Released Claims as provided in this Agreement. Defendants shall have no obligation to make

any other or further payments to Plaintiff or to any Settlement Class Member.




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               2.     Claim Settlement Payments to Settlement Class

       Settlement Class Members must submit a timely, valid and complete Claim Form, by the

Claim Deadline in the manner required by this Agreement, to receive a Claim Settlement Payment

from the Settlement Fund. Each Settlement Class Member who submits a timely, valid and

complete Claim Form by the Claim Deadline in the manner required by this Agreement, making

all the required affirmations and representations, shall be sent a Claim Settlement Check for a pro

rata portion of the Settlement Fund, after deducting all Notice and Administration Costs, any

approved Attorneys’ Fees and Expenses and any approved Service Award.

       Within thirty (30) days after the Effective Date, the Claims Administrator shall send, by

first-class mail, a Claim Settlement Check to each Settlement Class Member who submits a timely,

valid and complete Claim Form. The amount of each payment shall be the amount of funds

available for distribution (i.e., the Settlement Fund less any Notice and Administration Costs,

approved Attorneys’ Fees and Expenses and approved Service Award) divided by the number of

eligible Settlement Class Members to whom payments are being directed. The payments shall be

made by checks, valid for one hundred twenty (120) days from the date on the check. Each

Settlement Class Member shall be paid only once per telephone number; duplicative Claims per

telephone number are not allowed.

       Within ten (10) days after the Effective Date the Claims Administrator shall make payment

to Class Counsel for any approved Attorneys’ Fees and Expenses awarded by the Court.

       Within ten (10) days after the Effective Date the Claims Administrator shall make payment

to Plaintiff for any Service Award awarded by the Court.

       C.      Settlement Approval

       Concurrent with submission of this Agreement for the Court’s consideration, Class



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Counsel shall submit to the Court a motion for preliminary approval of this Agreement. The

motion shall seek entry of a Preliminary Approval Order, which shall be in a form agreed upon

by Class Counsel and Defendants. Class Counsel shall be responsible for drafting the motion

for approval of the Settlement and all other documents reasonably necessary to effectuate the

Settlement, including Class Notices. All papers in support of Final Approval, Attorneys’ Fees

and Expenses, and the Service Award shall be filed at least thirty (30) days before the Final

Approval hearing.

        D.     Service Award and Attorneys’ Fees and Expenses

               1.       Service Award

        Class Counsel may petition the Court for a reasonable Service Award not to exceed Five

Thousand Dollars and Zero Cents ($5,000.00), to be paid from the Settlement Fund.

               2.       Attorneys’ Fees

        Class Counsel may request an award of Attorneys’ Fees not to exceed one-third (1/3) of

the Settlement Fund, or approximately $433,333.33, to be paid from the Settlement Fund. Class

Counsel shall be responsible for allocating and shall allocate among Class Counsel any Attorneys’

Fees and Expenses, and Defendants shall have no responsibility, role, or liability in connection

with such allocation.

               3.       Ligation Costs and Expenses.

        Class Counsel may additionally request reimbursement of costs and expenses reasonably

incurred litigating this matter in an amount not to exceed $10,000, to be paid from the Settlement

Fund.




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III.   CLAIMS ADMINISTRATION

       A.      Administrator

       The Parties have agreed on KCC as the Administrator. The Administrator shall administer

the Settlement in a cost-effective and timely manner. Without limiting any of its other obligations

as stated herein, the Administrator shall be responsible for, among other things and if and as

necessary, for the implementation and effectuation of Class Notice, processing Claim Forms,

receiving and maintaining on behalf of the Court any correspondence regarding requests for

exclusion and/or objections to the Settlement, administering Claim Settlement Payments, and

providing all other related support, reporting, and administration as further stated in this

Agreement. The Parties may direct the Administrator to assist with various additional

administrative tasks in implementing the Settlement as the Parties agree is appropriate.

       The Parties will coordinate with the Administrator to provide Mail Notice to the

Settlement Class, as provided in this Agreement. The Administrator shall administer the

Settlement in accordance with the terms of this Agreement and shall treat any and all documents,

communications, and other information and materials received in connection with the

administration of the Settlement as Confidential Information except as provided for in this

Agreement or by court order. All Notice and Administrative Costs shall be paid from the

Settlement Fund.

       B.      Notice

               1.       Notice to the Settlement Class

        Class Counsel and Defendants shall insert the correct dates and deadlines in the Class

Notice before the Class Notice program commences, based upon those dates and deadlines set by

the Court in the Preliminary Approval Order.



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               2.       Settlement Class Data

       Within ten (10) days after entry of the Preliminary Approval Order, Defendants—if they

have not already done so—will provide to the Administrator the Settlement Class Data in

electronic format. Using the Settlement Class Data, the Administrator will determine the names

and mailing addresses associated with each of the telephone numbers of the Settlement Class

Members.

               3.       Mail Notice

       The Administrator, by the Class Notice Date, shall by first class U.S. Mail send one copy

of the Mail Notice to all Settlement Class Members. After posting of the Mail Notice by the

Administrator with the United States Postal Service, for any Mail Notices returned as

undeliverable, the Administrator shall use the National Change of Address database (the “NCOA”)

or skip-tracing in an attempt to obtain better addresses for such returned Mail Notices, and should

the NCOA or skip-tracing show a more current address, the Administrator shall post the returned

Mail Notice to the more current address. The Mail Notice shall consist of postcard notice.

               4.       Long-Form Notice

       Mail    Notice      will   contain    the        address   for   the   Settlement   Website,

www.DavisTCPASettlement.com. On the website, Settlement Class members will find important

documents and court filings, including the Long-Form Notice, which will contain more detail than

the Mail Notice. The Long Form Notice will be sent to all Settlement Class members who contact

the Administrator by telephone or email and request a copy.

               5.       Settlement Website

       By the Class Notice Date, the Administrator shall establish and maintain the Settlement

Website, which, among other things: (i) enables Settlement Class Members to access and




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download the Claim Form, (ii) provides contact information for Class Counsel, and (iii) provides

access to relevant documents concerning the Action. Such documents shall include this Agreement

and Class Notice; the Long-Form Notice; the Preliminary Approval Order; the Complaint; and,

when filed, the Final Approval Order. The Class Notice shall include the address (URL) of

www.DavisTCPASettlement.com for the Settlement Website. The Administrator shall maintain

the Settlement Website until thirty (30) days following Final Approval.

              6.      IVR

       By the Class Notice Date, the Administrator shall establish and maintain a toll-free number

that maintains an IVR (or similar) system to answer questions about the Settlement. The

Administrator shall maintain the IVR (or similar) system until at least sixty (60) days following

the Claim Deadline.

              7.      CAFA Notice

       The Administrator shall serve notices under the Class Action Fairness Act of 2005, 28

U.S.C. § 1715, within the timelines specified by 28 U.S.C. § 1715(b). Defendants will provide the

Court with confirmation of service on or before the date of the Final Approval Hearing.

       C.     Claim Filing, Review, and Approval Process

              1.      Claim Form

       To submit a valid Claim, Settlement Class Members must correctly provide all the

information and documentation required by the Claim Form. The Claim Form shall require any

Settlement Class Member who submits a Claim to provide the following documentation and

information: (a) Settlement Class Claimant’s name and address; (b) Settlement Class Claimant’s

telephone number that received a text message from Defendants; and (c) an affirmation that the

Settlement Class Claimant received a text message from Defendants within the Class Period,




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without prior express written consent. For persons who did not receive Mail Notice but who

otherwise submit a Claim Form, such persons must provide a telephone number that matches a

telephone number on the Class List.

               2.     Claim Filing Process

       Settlement Class Members shall be permitted to make a Claim for a Claim Settlement

Payment by sending by U.S. mail a written and fully and accurately completed Claim Form, or by

submitting a claim on the Settlement Website, on a date no later than the Claim Deadline.

               3.     Invalid Claims

       Any Settlement Class Member who fails to submit a timely, accurate, and fully

completed, valid Claim Form, shall not be entitled to receive a Settlement Claim Payment, but

shall otherwise be bound by all of the terms in this Agreement, including the terms of the Final

Approval Order and the Releases in this Agreement, and shall be permanently barred and

enjoined from bringing any action, claim, or other proceeding of any kind against any Released

Parties concerning any Released Claims.

               4.     Claim Review Process

       The Administrator shall confirm that each Claim Form submitted is in the form required;

that each Claim Form includes the required affirmations, information, and documentation; that

each Claim Form was submitted in a timely fashion; and that the Settlement Class Claimant is a

member of the Settlement Class. All such Claim criteria shall be strictly enforced. Any Settlement

Class Claimant’s failure to provide any of the required affirmations or information shall result in

the Claim being deemed invalid, and Defendants shall not have any further obligation to process

or make any Claim Settlement Payment on such invalid Claim. The Administrator shall not receive

any incentive for denying claims.



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               5.      Settlement Class Payment List

       At least ten (10) days before the Final Approval Hearing, the Administrator shall provide

Class Counsel and Counsel for Defendants with the Settlement Class Payment List.

       D.      Opt-Out Rights

               1.      Opt-Out Requirements

       A Settlement Class Member who wishes to opt-out of the Settlement Class must do so in

writing. To opt-out, a Settlement Class Member must complete and send to the Administrator, at

the address listed in the Class Notice, a Request for Exclusion that is postmarked no later than the

Opt-Out Deadline, as specified in the Class Notice (or as the Court otherwise requires). The

Request for Exclusion must: (a) identify the case name; (b) identify the name, address, and

telephone number of the Settlement Class Member; (c) identify the telephone number at which the

person received a text message from Defendants; (d) be personally signed by the Settlement Class

Member requesting exclusion; and (e) contain a statement that indicates a desire to be excluded

from the Settlement Class in the Action, such as: “I hereby request that I be excluded from the

proposed Settlement Class in Lauren Davis v. Mindshare Ventures LLC d/b/a AtlasRTX, et al.,

Case No. 4:19-cv-1961 (S.D. Tex.).”

       Any Settlement Class Member who does not opt-out of the Settlement in the manner

described herein shall be deemed to be part of the Settlement Class, and shall be bound by all

subsequent proceedings, orders, and judgments, including the Final Approval Order.

       A Settlement Class Member who desires to opt-out must take timely affirmative written

action in accordance with this Section, even if the Settlement Class Member desiring to opt-out

(a) files or has filed a separate action against any of the Released Parties, or (b) is, or becomes, a

putative class member in any other class action filed against any of the Released Parties.



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               2.      Opt-Outs Not Bound

       Any Settlement Class Member who properly opts out of the Settlement Class shall not: (a)

be bound by any orders or judgments relating to the Settlement; (b) be entitled to relief under, or

be affected by, this Agreement; (c) gain any rights by virtue of this Agreement; or (d) be entitled

to object to any aspect of the Settlement.

               3.      List of Requests for Exclusion

       At least fourteen (14) days before the Final Approval Hearing, the Administrator shall

provide Class Counsel and Counsel for Defendants with a list of all timely Requests for Exclusion

along with copies of such Requests for Exclusion.

               4.      Right To Terminate Based on Volume of Opt-Outs

       If the number of Settlement Class Members who properly and timely exercise their right

to opt out of the Settlement Class exceeds 60 persons of the total number of Settlement Class

Members, Trendmaker shall have the right to terminate this Agreement per Section III.G.

               5.      All Settlement Class Members Bound By Settlement

       Except for those Settlement Class Members who timely and properly file a Request for

Exclusion, all other Settlement Class Members will be deemed to be Settlement Class Members

for all purposes under the Agreement, and upon the Effective Date, will be bound by its terms.

       E.      Objections

       Any Settlement Class Member who does not opt-out of the Settlement may object to the

Settlement. To object, the Settlement Class Member must comply with the procedures and

deadlines in this Agreement.




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       Any objection that includes a request for exclusion will be treated as an exclusion. And

any Settlement Class Member who submits both an exclusion and an objection will be treated as

having excluded himself or herself from the settlement.

               1.      Process

       Any Settlement Class Member who wishes to object to the Settlement must do so in writing

on or before the Objection Deadline, as specified in the Class Notice and Preliminary Approval

Order. The written objection must be filed with the Court and mailed (with the requisite postmark)

to Class Counsel and Counsel for Defendants (at the addresses identified in Sections I(J) and I(O)),

no later than the Objection Deadline.

               2.      Requirements

       The requirements to assert a valid written objection shall be set forth in the Class Notice.

To be valid, the written objection must include:

       a.      Full name;

       b.      Address;

       c.      Current telephone number;

      d.      Telephone number to which Defendants delivered the subject text
message(s), demonstrating that you are a member of the class;

       e.     Identification of any documents to show that you are a member of the class
or which you desire the Court to consider;

       f.      A statement of your specific objection(s);

       g.      A description of the facts underlying your objection(s);

       h.      The grounds for your objection(s);

       i.      A list of all witnesses that you intend to call by live testimony, deposition
testimony, or affidavit or declaration testimony;

       j.      A list of exhibits that you intend to present; and



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       k.      A statement noting whether you intend to appear at the final fairness
hearing.

       Any Settlement Class Member who fails to object to the Settlement in the manner described

in the Class Notice and consistent with this Section shall be deemed to have waived any such

objection, shall not be permitted to object to any terms or approval of the Settlement at the Final

Approval Hearing, and shall be foreclosed from seeking any review of the Settlement or the terms

of this Agreement by appeal or other means.

               3.     Appearance

       Subject to approval by the Court, any Settlement Class Member who files and serves a

written objection in accordance with this Section may appear, in person or by counsel, at the Final

Approval Hearing held by the Court, to show cause why the Settlement should not be approved as

fair, adequate, and reasonable, but only if the objecting Settlement Class Member: (a) files with

the Court a notice of intention to appear at the Final Approval Hearing by the Objection Deadline

(“Notice of Intention to Appear”); and (b) serves the Notice of Intention to Appear on Class

Counsel and Counsel for Defendants by the Objection Deadline.

       The Notice of Intention to Appear must include: (a) the case name and number; (b) the

Settlement Class Member’s name, address, telephone number, and signature, and, if represented

by counsel, their contact information; (c) the telephone number where he or she received a text

message from Defendants; and (d) copies of any papers, exhibits, or other evidence that the

objecting Settlement Class Member will present to the Court in connection with the Final Approval

Hearing.

       Any Settlement Class Member who does not file a Notice of Intention to Appear in

accordance with the deadlines and other specifications set forth in the Class Notice and this

Agreement shall not be entitled to appear at the Final Approval Hearing and raise any objections.


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               4.      Discovery From Settlement Class Members Who Object To The
                       Settlement

       The Parties shall have the right to take discovery from any Settlement Class Member who

objects to the Settlement without further leave of court.

       F.      Non-Approval of Agreement

       This Agreement is conditioned on Final Approval without material modifications by the

Court. If the Agreement is not so approved, the Parties shall have the right—after they have

negotiated in good faith to remedy any shortcoming(s) identified by the Court as the reason(s) for

non-approval of the Agreement—to withdraw from the Agreement and return to the status quo

ante as if no settlement or this Agreement had been negotiated or entered into. Moreover, the

Parties shall be deemed to have preserved all of their rights or defenses, and shall not be deemed

to have waived any substantive, evidentiary, procedural, or other rights of any kind that they may

have as to each other or any member of the Settlement Class. If the Agreement is approved without

material modification by the Court, but is later reversed or vacated on appeal, each of the Parties

shall have a right to withdraw from the Agreement and return to the status quo ante, for all litigation

purposes, as if no Agreement had been negotiated or entered into, and shall not be deemed to have

waived any substantive, evidentiary, procedural, or rights of any kind that they may have as to

each other or any member of the Settlement Class. However, the Parties are expected to meet and

confer in good faith about possibly resolving any curable issues with the Settlement that prevented

the Court from granting Final Approval.

       G.      Termination of Agreement

       Either Party shall have the right in his or its sole discretion to terminate this Agreement,

declare it null and void, and have no further obligations under this Agreement if any of the

following conditions occurs: (1) the Court fails to grant Preliminary Approval within three hundred


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sixty days of Plaintiff filing a motion for preliminary approval of this Agreement, or declines to

grant Preliminary Approval in accordance with the terms of the Preliminary Approval Order; (2)

the Court fails to grant Final Approval within three hundred sixty days of Plaintiff filing a motion

for final approval of this Agreement, or declines to grant Final Approval in accordance with the

terms of the Final Approval Order; (3) an appellate court vacates or reverses the Final Approval

Order; or (4) any condition described in this Agreement, including any Exhibits, as a basis for

termination or cancellation occurs.

         H.    Retention of Records

         The Administrator shall retain all records relating to payment of claims under this

Agreement for a period of two (2) years from the Effective Date. Those records shall be

maintained in accordance with the confidentiality order on file in this case.

IV.      EXCLUSIVE REMEDY/DISMISSAL OF CLAIMS/JURISDICTION

         A.    Exclusive Remedy; Permanent Injunction

         Upon issuance of the Final Approval Order: (i) the Agreement shall be the exclusive

remedy for any and all Settlement Class Members, except those who have properly requested

exclusion (opted out) in accordance with the terms and provisions hereof; (ii) the Released Parties

shall not be subject to liability or expense for any of the Released Claims to any Settlement Class

Member(s); and (iii) Settlement Class Members who have not opted out shall be permanently

barred and enjoined from asserting any Released Claims in any action or from filing, commencing,

prosecuting, intervening in, or participating in (as class members or otherwise) any action based

on or relating to any of the Released Claims or the facts and circumstances relating thereto, except

that Settlement Class Members, if subpoenaed or otherwise compelled to do so, may participate in

any regulatory or governmental proceedings or investigations.



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        B.     Dismissal of Claims

        The Parties agree that upon the Effective Date, the Action shall be dismissed with prejudice

in accordance with the Final Approval Order.

        C.     Continuing Jurisdiction of Court

        The Court shall retain exclusive and continuing jurisdiction over this Action, the Parties,

and this Agreement with respect to the performance of its terms and conditions (and disputes

arising out of or relating to this Agreement), the proper provision of all benefits, and the

implementation and enforcement of its terms, conditions, and obligations.

V.      RELEASES

        Upon issuance of the Final Approval Order, the Released Parties shall be released and

forever discharged by the Class Representative, the Settlement Class, and each Settlement Class

Member from all Released Claims. The Settlement Class and each Settlement Class Member

covenant and agree that they shall not hereafter seek to establish liability against any of the

Released Parties based, in whole or in part, on any of the Released Claims. The Class

Representatives, the Settlement Class, and each Settlement Class Member expressly waive and

relinquish any and all rights which they may have under Section 1542 of the California Civil Code

or any similar statute of any other state or of the United States. Section 1542 reads as follows:

               A general release does not extend to claims that the creditor or releasing
               party does not know or suspect to exist in his or her favor at the time of
               executing the release and that, if known by him or her, would have
               materially affected his or her settlement with the debtor or released party.

        The Class Representative, the Settlement Class, and each Settlement Class Member may

hereafter discover facts in addition to or different from those which they now know or believe to

be true with respect to the subject matter of the Released Claims, but the Class Representative, the

Settlement Class, and each Settlement Class Member, upon the Effective Date, shall be deemed to


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have, and by operation of the Final Approval Order, shall have, nevertheless, fully, finally, and

forever waived, settled, and released any and all Released Claims, regardless of such subsequent

discovery of additional or different facts.

         Upon issuance of the Final Approval Order, the Released Parties shall be released and

forever discharged by the Plaintiff for any and all Released Claims that she may have against any

of the Released Parties.

         Upon issuance of the Final Approval Order, the Plaintiff, and all Settlement Class Members

shall be permanently barred and enjoined from: (a) asserting any Released Claims in any action or

proceeding or from filing, commencing, prosecuting, intervening in, or participating in (as class

members or otherwise) any action or proceeding based on any of the Released Claims, except that

Settlement Class Members, if subpoenaed or otherwise compelled to do so, may participate in any

regulatory or governmental proceedings or investigations. Nothing in this Agreement shall

preclude any action to enforce the terms of the Agreement.

         This Agreement and the Releases herein do not affect the rights of Settlement Class

Members who timely and properly submit a Request for Exclusion from the Settlement.

VI.      COVENANTS, REPRESENTATIONS, AND WARRANTIES

         Plaintiff, Class Counsel, and the Settlement Class Members covenant and agree: (a) not to

assert any of the Released Claims in any action or proceeding and not to file, commence, prosecute

, intervene in, or participate in (as class members or otherwise) any action or proceeding based on

any of the Released Claims against any of the Released Parties, except that Settlement Class

Members, if subpoenaed or otherwise compelled to do so, may participate in any regulatory or

governmental proceedings or investigations; and (b) that the foregoing covenants and this




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Agreement shall be a complete defense to any of the Released Claims against any of the Released

Parties.

           Plaintiff represents and warrants that: (a) she is the sole and exclusive owner of her own

Released Claims; (b) that she has not assigned or otherwise transferred any interest in any of the

Released Claims against any of the Released Parties; (c) that she will not assign or otherwise

transfer any interest in any of the Released Claims; and (d) that she has no surviving claim or cause

of action against any of the Released Parties that is not being released by this Agreement.

           Class Counsel represent and warrant that: (a) they currently know of no other persons with

claims against Defendants who are not included in the Settlement Class and whose claims will not

be released upon the Effective Date of this Agreement; (b) they will keep confidential and not

publicly disclose, disseminate, or use any of the information in the Settlement Class Data; and (c)

they will not advertise for or solicit individuals to bring any additional lawsuits or claims against

the Released Parties regarding the Released Claims.

VII.       MISCELLANEOUS PROVISIONS

           A.     Receipt of Advice of Counsel

           Each Party acknowledges, agrees, and specifically warrants that he, she, or it has fully read

this Agreement and the Release, received independent legal advice with respect to the advisability

of entering into this Agreement and the Release and the legal effects of this Agreement and the

Release, and fully understands the effect of this Agreement and the Release.

           B.     Cooperation to Facilitate this Settlement

           The Parties agree that they shall work together in good faith to facilitate this Agreement,

as well as undertake any required steps to effectuate the purposes and intent of this Agreement.




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       C.      Representation by Counsel

       The Parties represent and warrant that they have been represented by, and have consulted

with, the counsel of their choice regarding the provisions, obligations, rights, risks, and legal

effects of this Agreement and have been given the opportunity to review independently this

Agreement with such legal counsel and agree to the particular language of the provisions herein.

       D.      No Admission of Liability

       Nothing in this Agreement, or the Parties’ willingness to enter into this Agreement, shall

be construed as an admission by any person or entity, of any liability or wrongdoing of any Party,

or of the truth of any allegations made by the Class Representative, on behalf of himself or the

Settlement Class, against Defendants. Defendants expressly deny and disclaim any liability or

wrongdoing. The existence, contents, and terms of Agreement, and any negotiations, statements,

or proceedings in connection therewith, shall not be admissible as evidence for any purpose in any

proceeding, except solely for purposes of enforcement of the Agreement’s terms; however, this

Agreement may be used by either Party and pleaded as a full and complete defense to any action,

suit, or other proceeding that has been or may be instituted, prosecuted, or attempted with respect

to any of the Released Claims, and may be filed, offered, and received into evidence, and otherwise

used for such defense.

       E.      Contractual Agreement

       The Parties understand and agree that all terms of this Agreement are contractual and are

not mere recitals, and each signatory warrants that he or she is competent and possesses the full

and complete authority to execute and covenant to this Agreement on behalf of the Party that he

or she represents.




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       F.      Change of Time Periods

       The time periods and/or dates described in this Agreement with respect to the giving of

notices and hearings are subject to approval and change by the Court or by written agreement of

Class Counsel and Counsel for Defendants, without notice to Settlement Class Members. The

Parties reserve the right, by agreement and subject to Court approval, to grant any reasonable

extension of time that might be needed to carry out any of the provisions of this Agreement.

       G.      Integration

       This Agreement constitutes a single, integrated written contract expressing the entire

agreement of the Parties relative to the subject matter hereof. This Agreement supersedes all prior

representations, agreements, understandings, both written and oral, among the Parties, or any of

them, with respect to the subject matter of this Agreement. No covenants, agreements,

representations, or warranties of any kind whatsoever have been made by any Party hereto, except

as provided for herein, and no Party is relying on any prior oral or written representations,

agreements, understandings, or undertakings with respect to the subject matter of this Agreement.

       H.      Drafting

       The Parties agree that no single Party shall be deemed to have drafted this Agreement, or

any portion thereof, for purpose of the invocation of the doctrine of contra proferentem. This

Agreement is a collaborative effort of the Parties and their respective attorneys.

       I.      Costs

       Except as otherwise provided herein, each Party shall bear its own legal and other costs

incurred in connection with the Released Claims, including the preparation and performance of

this Agreement.




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        J.      Modification or Amendment

        This Agreement may not be modified or amended, nor may any of its provisions be waived,

except by a writing signed by the Parties who executed this Agreement or their successors-in-

interest.

        K.      No Waiver

        The failure of a Party hereto to insist upon strict performance of any provision of this

Agreement shall not be deemed a waiver of such Party’s rights or remedies or a waiver by such

Party of any default by another Party in the performance or compliance of any of the terms of this

Agreement. In addition, the waiver by one Party of any breach of this Agreement by another Party

shall not be deemed a waiver of any other prior or subsequent breach of this Agreement.

        L.      Severability

        Should any part, term, or provision of this Agreement be declared or determined by any

court or tribunal to be illegal or invalid, the Parties agree that the Court may modify such provision

to the extent necessary to make it valid, legal, and enforceable. In any event, such provision shall

be separable and shall not limit or affect the validity, legality, or enforceability of any other

provision hereunder; provided, however, that the terms of this Section shall not apply should any

court or tribunal find any part, term, or provision of the release to be illegal or invalid in any

manner.

        M.      No Violation of Law or Agreement

        The execution, delivery, and performance of this Agreement by the Parties hereto does not

and will not, conflict with, violate, result in a breach of, or cause a default under, (a) any applicable

provision of any federal, state, or local law or regulation, (b) any provision of any order, arbitration




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award, judgment, or decree, or (c) any provision of any agreement or instrument applicable to the

Parties.

           N.     Successors

           This Agreement shall be binding upon and inure to the benefit of the heirs, successors, and

assigns of the Parties hereto.

           O.     Choice of Law

           All terms and conditions of this Agreement shall be governed by and interpreted according

to the laws of the State of Texas, without reference to its conflict of law provisions, except to the

extent that federal law governs. The adequacy of the settlement, any determination regarding Class

Counsel’s fees and expenses, and any Service Award shall be governed by federal law.

           P.     Fair and Reasonable

           The Parties and their counsel believe that this Agreement is a fair and reasonable

compromise of the disputed claims, it is in the best interests of the Parties, and have arrived at this

Agreement as a result of extensive arms-length negotiations.

           Q.     Headings

           All headings contained herein are for informational purposes only and do not constitute a

substantive part of this Agreement. In the event of a dispute concerning the terms and conditions

of this Agreement, the headings shall be disregarded.

           R.     Exhibits

           The Exhibits to this Agreement are expressly incorporated and made part of the terms and

conditions set forth herein.




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       S.      Counterparts

       This Agreement may be executed in one or more counterparts. All executed counterparts,

and each of them, shall be deemed to be one and the same instrument provided that counsel for the

Parties to this Agreement shall exchange among themselves original signed counterparts.

       T.      Facsimile and Electronic Mail

       Transmission of a signed Agreement by facsimile or electronic mail shall constitute receipt

of an original signed Agreement by mail.

       U.      Warranty of Signature

       Each signer of this Agreement represents and warrants that he or she is authorized to

execute this Agreement in his or her official capacity on behalf of the Party to this Agreement for

which he or she is signing and that this Agreement is binding on the principal represented by that

signatory.

       V.      No Assignment

       Each Party represents and warrants that such Party has not assigned or otherwise

transferred (via subrogation or otherwise) any right, title, or interest in or to any claims, causes of

action, or demands which were or could have been, or ever could be asserted against any Party and

that are released in this Agreement, or which were, could have been, or ever could be asserted

against any Party. Any Party that breaches the representations and warranties set forth in this

Section shall indemnify and hold harmless each other Party, its parents, subsidiaries, and affiliates,

and their respective owners, agents, attorneys, successors, heirs, assigns, administrators, officers,

directors, employees, and all other persons acting in concert with them from any and every claim

or demand of every kind or character arising out of a breach by any such breaching Party of its

representations and warranties in this Section.




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       W.         Confidentiality; Communications to Media and Public

       The Parties agree that the terms of this Settlement shall remain confidential and not be

disclosed by any Party until the Agreement is filed in connection with the Preliminary Approval

Application.

       The Parties also agree that before the entry of Final Approval of the Settlement, they shall

not publish a press release or a release on the Internet concerning the Settlement without the prior

written review and approval of Defendants. Class Counsel, however, is preapproved to post the

following information on his firm website: (1) a statement materially similar to: “Lauren Davis v.

Mindshare Ventures LLC, d/b/a AtlasRTX, Trendmaker Homes DFW, LLC, and Trendmaker

Homes, Inc.: $1.3 million settlement under the Telephone Consumer Protection Act,” and (2) a

hyperlink to the long form, website class notice attached as Exhibit 2. The Parties further agree

that before the entry of Final Approval of the Settlement, if any print or electronic media outlet

contacts any Party or its counsel seeking information or a statement regarding the Settlement, in

the absence of a response agreed on by all Parties, no information will be provided in response to

such inquiries.

       For the avoidance of any doubt, nothing in this Agreement prevents the Parties from

making any disclosures required to effectuate this Agreement or from making any disclosures

required by law.

       X.         Subsequent Change in Law

       The Parties’ Settlement and this Agreement will be unaffected by any subsequent change

in law regarding the federal Telephone Consumer Protection Act, its interpretation, and its

application, whether from Congress, the Federal Communications Commission, courts, or

otherwise



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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly executed by

themselves or by their duly authorized representatives:


 Dated: _________                              By:_______________
                                                  Lauren Davis
                                                  Plaintiff and Class Representative



 Dated: ---------                              By: _______________
                                                   Aaron D. Radbil
                                                   Counselfor Plaintiff and the Settlement Class



                                                     Trendmaker Homes, Inc.
                                               B y:
 Dated: ---------
        February 14, 2020                          _     �
                                                    f)---+---#-----




                                                   TrendrnaK �.C.
                                               B y:
        February 14, 2020
 Dated: ---------




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                                  Mindshare Ventures LLC d/b/a AtlasRTX.
Dated: February 13, 2020
                                  By:-------'~_ _    S______
                                      Printed Name: Bassam T. Salem
                                      Title: CEO




                                      Counsel for Defendants




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           EXHIBIT 1
                   [Claim Form]
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                                            Carefully separate at perforation
                                         UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF TEXAS
 Lauren Davis v. Mindshare Ventures LLC, d/b/a AtlasRTX, Trendmaker Homes DFW, L.L.C., and Trendmaker Homes, Inc.
                                      Civil Action No. 4:19-cv-1961 (S.D. Tex.)

                                                    CLAIM FORM
 [admin] ID: «[Admin] ID»                                     Name/Address Changes:
 «First Name» «Last Name»
 «Address1»
 «City», «State» «Zip»


 By signing below, I affirm that Trendmaker Homes DFW, LLC, or AtlasRTX, on behalf of Trendmaker Homes DFW,
 LLC, or Trendmaker Homes, Inc., delivered a text message to my cellular telephone number, between May 30, 2015              Bottom Inside
 and December 11, 2019, without prior express consent.
 IF YOU MOVE, send your CHANGE OF ADDRESS to the Settlement Administrator at the address on the backside of
 this form.


 Signature:                                                   Telephone number(s) on which I received the text(s):


 Date of signature:
                        To receive a payment you must enter all requested information above, sign
                         and mail this claim form, postmarked on or before [month] [day], 2020.
                 Or you may visit the settlement website, www.DavisTCPASettlement.com, or call [number].
                  To exclude yourself from the class action settlement you must mail a written request for
                    exclusion to the claims administrator, postmarked on or before [month] [day], 2020.
               Your request must include the information required by the Court’s [month] [day], 2020 Order.




                                                                                                                             Postage




                                                                                   Bar Code To Be Placed Here

                                                                                Postal Service: Please do not mark Barcode



Bottom Outside                                                   Davis TCPA Settlement Administrator
                                                                                 [address]
                                                                        [city], [state] [zip code]
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           EXHIBIT 2
           [Long-Form Notice]
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  UNITED STATES DISTRICT COURT                  SOUTHERN DISTRICT OF TEXAS


Lauren Davis, on behalf of herself and  §
others similarly situated,              §
                                        §
      Plaintiff,                        §
                                        §
vs.                                     §          Civil Action No. 4:19-cv-1961
                                        §
Mindshare Ventures LLC, d/b/a AtlasRTX, §
Trendmaker Homes DFW, LLC, and          §
Trendmaker Homes, Inc.,                 §
                                        §
      Defendants.                       §


                                 WEBSITE Q & A NOTICE




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                    This is a notice of a settlement of a class action lawsuit.
                         This is not a notice of a lawsuit against you.

If Trendmaker Homes DFW, L.L.C. or AtlasRTX, on behalf of Trendmaker Homes DFW,
L.L.C. or Trendmaker Homes, Inc., delivered a text message to your cellular telephone
number, from May 30, 2015 through December 11, 2019, you may be entitled to
compensation as a result of a settlement in the class action lawsuit captioned:

 Lauren Davis v. Mindshare Ventures LLC, d/b/a AtlasRTX, Trendmaker Homes DFW, L.L.C.,
          and Trendmaker Homes, Inc., Civil Action No. 4:19-cv-1961 (S.D. Tex.)

                             A federal court authorized this notice.
                             This is not a solicitation from a lawyer.

                              Please read this notice carefully.
       It explains your rights and options to participate in a class action settlement.

   •   Lauren Davis sued Mindshare Ventures LLC, d/b/a AtlasRTX (“AtlasRTX”), Trendmaker
       Homes DFW, L.L.C. (“Trendmaker DFW”), and Trendmaker Homes, Inc. (“Trendmaker
       Homes”) (collectively, “Defendants”), alleging (1) that Defendants delivered non-
       emergency text messages to cellular telephone numbers without having obtained prior
       express consent to do so, in violation of the Telephone Consumer Protection Act
       (“TCPA”), 47 U.S.C. § 227, and (2) that Defendants delivered non-emergency advertising
       and marketing text messages to cellular telephone numbers without having obtained prior
       express written consent to do so, in violation of the TCPA.

   •   A settlement will result in a $1.3 million fund to fully settle and release claims of all persons
       throughout the United States (1) to whom Trendmaker DFW or AtlasRTX, on behalf of
       Trendmaker DFW or Trendmaker Homes, sent, or caused to be sent, a text message, (2)
       directed to a number assigned to a cellular telephone service, (3) between May 30, 2015
       and December 11, 2019, (4) using the AtlasRTX platform/services.

   •   The settlement fund will be used to pay settlement amounts to class members who elect to
       participate, after deducting the costs of settlement notice and administration, attorneys’
       fees, costs, and litigation expenses, and an incentive award to Ms. Davis.

   •   Your legal rights are affected, and you now have a choice to make:




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 SUBMIT A TIMELY CLAIM FORM:                         If you submit a valid claim form by [date], you
                                                     will receive a pro rata share of the settlement
                                                     fund, after deductions, and you will release all
                                                     claims you may have against Defendants
                                                     related to this case.
 DO NOTHING:                                         If you do nothing, you will not receive a share
                                                     of the settlement fund, but if you are a class
                                                     member you will release all claims you may
                                                     have against Defendants related to this case.
 EXCLUDE YOURSELF:                                   If you exclude yourself from the settlement, you
                                                     will not receive a share of the settlement fund,
                                                     and you will not release any claims you have
                                                     against Defendants. The deadline for
                                                     excluding yourself is [date].
 OBJECT:                                             You have the right to object to the terms of the
                                                     proposed settlement. To do so, you must write
                                                     to the Court and state why you do not like the
                                                     settlement. The deadline to object is [date].

                                  Why is this notice available?

        This is a notice of a proposed settlement in a class action lawsuit. The settlement, if it
becomes final, will resolve the lawsuit Ms. Davis filed against Defendants. Please read this notice
carefully. It explains the lawsuit, the settlement, and your legal rights, including the process for
receiving a settlement check, excluding yourself from the settlement, or objecting to the settlement.

                                   What is this lawsuit about?

        Ms. Davis sued Defendants, alleging (1) that Defendants made non-emergency text
message calls to cellular telephone numbers without having obtained prior express consent to do
so, in violation of the TCPA, and (2) that Defendants made non-emergency advertising and
marketing text message calls to cellular telephone numbers without having obtained prior express
written consent to do so, in violation of the TCPA. Defendants deny the allegations, deny that they
used an automatic telephone dialing system to deliver text messages to class members, and deny
that they violated the TCPA. The Court did not decide who is right or wrong. The parties have
agreed to a settlement.

                                    Why is this a class action?

       In a class action, one or more people called “class representatives” file a lawsuit on behalf
of people who have similar claims. All of these people together are a “class” or “class members.”
The Court accordingly resolves claims for all class members, except for those who exclude
themselves from the class.



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                                    Why is there a settlement?

         Ms. Davis, on the one hand, and Defendants, on the other, have agreed to settle the lawsuit
to avoid the time, risk, and expense associated with continuing to litigate it, and to achieve a final
resolution of the disputed claims. A court has not found that Defendants did anything wrong or are
liable for any of the claims asserted by Ms. Davis, and Defendants deny all liability or wrongdoing
in this case. Under the settlement, class members will obtain a payment in settlement of the claims
Ms. Davis raised in the lawsuit. Ms. Davis and her attorneys think the settlement is fair and
reasonable.

               How do you know if your claims are included in the settlement?

       The settlement resolves claims on behalf of the following class:

           All persons throughout the United States (1) to whom Trendmaker DFW or
           AtlasRTX, on behalf of Trendmaker DFW or Trendmaker Homes, sent, or
           caused to be sent, a text message, (2) directed to a number assigned to a
           cellular telephone service, (3) between May 30, 2015 and December 11,
           2019, (4) using the AtlasRTX platform/services.

       There are approximately 9,863 members of the class.

                               What does the settlement provide?

      Defendants will establish a common settlement fund in the amount of $1.3 million to
compensate members of the class. Out of the settlement fund will be paid:

               a.      Settlement compensation to class members;

               b.      Notice and administration costs not to exceed $55,000;

               c.      An award of attorneys’ fees not to exceed one-third of the settlement
       fund, subject to the Court’s approval;

              d.     Costs and expenses incurred litigating the claims in this matter not
       to exceed $10,000, subject to the Court’s approval; and

              e.      An incentive award to Ms. Davis not to exceed $5,000, subject to
       the Court’s approval.

        Each class member who submits a timely, valid and complete claim form will be entitled,
subject to the provisions of the settlement agreement, to his or her equal share of the $1.3 million
settlement fund as it exists after deducting the amounts listed above in items (b) through (e). Each
class member will be paid only once per telephone number. Duplicative claims per telephone
number are not allowed.

       It is estimated that if all class members submit a valid claim, each claimant will receive
approximately $80.00. This amount will increase should less than all class members submit a valid

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claim. The actual amount each participating class member will receive may be more or less
depending on the number of class members who submit timely, valid claims.

                                   How can you get a payment?

        You must timely mail a valid, complete claim form to: “Davis v. Trendmaker Settlement
Administrator,” [address], [city], [state] [zip code], postmarked by [month] [day], 2020. Or you
must submit a valid claim electronically through www.DavisTCPASettlement.com by [month]
[day], 2020.

                                     When will you be paid?

        If the Court grants final approval of the settlement, settlement checks will be mailed, no
later than 30 days after the judgment in the lawsuit becomes final, to class members who timely
submitted valid, complete claim forms. If there is an appeal of the settlement, payment may be
delayed.

                       What rights are you giving up in this settlement?

       If you are a class member, and unless you exclude yourself from the settlement, you will
give up your right to sue or continue a lawsuit against Defendants over the released claims. Giving
up your legal claims is called a release. If you are a class member, unless you formally exclude
yourself from the settlement, you will release certain claims against Defendants.

       For more information on the release, released parties, and released claims, you may obtain
a copy of the class action settlement agreement on the settlement website,
www.DavisTCPASettlement.com, or from the Clerk of the United States District Court for the
Southern District of Texas.

                     How can you exclude yourself from the settlement?

       You may exclude yourself from the settlement, in which case you will not receive a
payment. If you wish to exclude yourself from the settlement, you must mail a written request for
exclusion to the claims administrator at the following address, postmarked by [month] [day],
2020:

                       Davis v. Trendmaker Settlement Administrator
                               ATTN: EXCLUSION REQUEST
                                            [address]
                                   [city], [state] [zip code]

         You must include in your request for exclusion your:

                a.      The case name;

                b.      Full name;

                c.      Address;

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               d.      Current telephone number;

             e.      Telephone number to which Defendants delivered the subject text
       message(s), demonstrating that you are a member of the class; and

               f.     A clear and unambiguous statement that you wish to be excluded
       from the settlement, such as “I hereby request that I be excluded from the proposed
       Settlement Class in Lauren Davis v. Mindshare Ventures LLC d/b/a AtlasRTX, et
       al., Case No. 4:19-cv-1961 (S.D. Tex.).”

        You must sign the request personally. If any person signs on your behalf, that person must
attach a copy of the power of attorney authorizing that signature.

         When and where will the Court decide whether to approve the settlement?

        The Court will hold a final fairness hearing on [month] [day], 2020, at [time]. The hearing
will take place in the United States District Court for the Southern District of Texas, Houston
Division, 515 Rusk Street, Houston, TX 77002. At the final fairness hearing the Court will consider
whether the settlement is fair, reasonable, and adequate and, if so, whether final approval of the
settlement should be granted. The Court will hear objections to the settlement, if any. The Court
may make a decision at that time, postpone a decision, or continue the hearing.

                               Do you have to attend the hearing?

        No, there is no requirement that you attend the hearing. However, you are welcome to
attend the hearing at your own expense. But you cannot speak at the hearing if you have excluded
yourself from the settlement because the settlement no longer affects your legal rights.

                          What if you want to object to the settlement?

        If you do not exclude yourself from the settlement, you can object to the settlement, or any
part of it, if you do not believe it is fair, reasonable, and adequate. If you wish to object, you must
mail a written notice of objection, postmarked by [month] [day], 2020, to class counsel,
Defendants’ attorneys, and to the Court, at the following addresses:

 Class Counsel:            Defendants’ Counsel:                       Court:
 Aaron D. Radbil           Ana Tagvoryan                              U.S. District Court for the
 Greenwald Davidson Radbil Blank Rome LLP                             Southern District of Texas
 PLLC                      2029 Century Party East                    515 Rusk Street
 401 Congress Ave.         6th Floor                                  Houston, TX 77002
 Ste. 1540                 Los Angeles, CA 90067
 Austin, TX 78701

       You must include in your objection your:

               a.      Full name;

               b.      Address;

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               c.      Current telephone number;

             d.      Telephone number to which Defendants delivered the subject text
       message(s), demonstrating that you are a member of the class;

               e.     Identification of any documents to show that you are a member of
       the class or which you desire the Court to consider;

               f.      A statement of your specific objection(s);

               g.      A description of the facts underlying your objection(s);

               h.      The grounds for your objection(s);

              i.       A list of all witnesses that you intend to call by live testimony,
       deposition testimony, or affidavit or declaration testimony;

               j.      A list of exhibits that you intend to present; and

              k.       A statement noting whether you intend to appear at the final fairness
       hearing.

                            By when must you enter an appearance?

        Any class member who objects to the settlement and wishes to enter an appearance must
do so by [date], 2020. To enter an appearance, you must file with the Clerk of the Court a written
notice of your appearance and you must serve a copy of that notice, by U.S. mail or hand-delivery,
upon class counsel and Defendants’ attorneys, at the addresses set forth above.

                                     What if you do nothing?

        If you do nothing and the Court approves the settlement agreement, you will not receive a
share of the settlement fund, but you will release any claim you have against Defendants related
to the allegations in this case. Unless you exclude yourself from the settlement, you will not be
able to sue or continue a lawsuit against Defendants over the released claims.

               What will happen if the Court does not approve the settlement?

        If the Court does not finally approve the settlement or if it finally approves the settlement
and the approval is reversed on appeal, or if the settlement does not become final for some other
reason, you will receive no benefits from this settlement and the lawsuit will continue.

                                  Who is Ms. Davis’s attorney?

       Ms. Davis’s attorney is:

               Aaron D. Radbil


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                Greenwald Davidson Radbil PLLC
                401 Congress Avenue, Suite 1540
                Austin, TX 78701

         The Court has appointed Ms. Davis’s attorney to act as class counsel. You do not have to
 pay class counsel. If you want to be represented by your own lawyer, and have that lawyer appear in
 Court for you in this case, you must hire one at your own expense.

                                   Who is Defendants’ attorney?

        Defendants’ attorney is:

                Ana Tagvoryan
                Blank Rome LLP
                2029 Century Party East
                6th Floor
                Los Angeles, CA 90067

                           Before what Court is this matter pending?

        Ms. Davis filed her class action lawsuit in the following Court:

                U.S. District Court for the Southern District of Texas
                515 Rusk Street
                Houston, TX 77002

                     Where can you get additional information?

       This notice is only a summary of the settlement. All documents filed with the Court,
including the full class action settlement agreement, may be reviewed or copied at the United
States District Court for the Southern District of Texas. In addition, pertinent case materials,
including the settlement agreement, are available at the settlement web site,
www.DavisTCPASettlement.com.

        If you would like additional information about this matter, please contact:

                        Davis v. Trendmaker Settlement Administrator
                                         [address]

                                       Telephone: [number]

        Please do not call the Judge about this case. Neither the Judge nor the Clerk of Court will
 be able to give you advice about this case. Furthermore, neither Defendants nor Defendants’
 attorneys represent you, and they cannot give you legal advice.




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           EXHIBIT 3
       [Final Approval Order]
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  UNITED STATES DISTRICT COURT                        SOUTHERN DISTRICT OF TEXAS


Lauren Davis, on behalf of herself and  §
others similarly situated,              §
                                        §
      Plaintiff,                        §
                                        §
vs.                                     §                  Civil Action No. 4:19-cv-1961
                                        §
Mindshare Ventures LLC, d/b/a AtlasRTX, §
Trendmaker Homes DFW, L.L.C., and       §
Trendmaker Homes, Inc.,                 §
                                        §
      Defendants.                       §

                     [PROPOSED] FINAL ORDER AND JUDGMENT

       On May 30, 2019, Lauren Davis (“Plaintiff” or “Class Representative”) filed a class action

complaint (the “Lawsuit”) against Mindshare Ventures LLC, d/b/a AtlasRTX (“AtlasRTX”),

Trendmaker Homes DFW, L.L.C. (“Trendmaker DFW”), and Trendmaker Homes, Inc.

(“Trendmaker Homes”) (collectively, “Defendants”), asserting class claims under the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. Defendants have denied any and all liability

alleged in the Lawsuit.

       On __________, after extensive arms-length negotiations, Plaintiff and Defendants (the

“Parties”) entered into a written class action settlement agreement (the “Agreement”), which is

subject to review under Fed. R. Civ. P. 23.

       On __________ the Parties filed the Agreement, along with Plaintiff’s unopposed motion

for preliminary approval of class action settlement (the “Preliminary Approval Motion”).

       In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(D), 1453,

and 1711-1715, Defendants, through the settlement administrator, served written notice of the


                                               1
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proposed class settlement as directed.

           On _______, upon consideration of Plaintiff’s Preliminary Approval Motion and the

record, this Court entered an order of preliminary approval of class action settlement (“Preliminary

Approval Order”). Pursuant to the Preliminary Approval Order, this Court, among other things, (i)

conditionally approved the proposed settlement and (ii) set the date and time of the final approval

hearing.

           On ________, Plaintiff filed a motion for final approval of class action settlement (the

“Final Approval Motion”).

           On ________, this Court held a final approval hearing pursuant to Fed. R. Civ. P. 23 to

determine whether the claims asserted in the Lawsuit satisfy the applicable prerequisites for class

action treatment and whether the proposed settlement is fundamentally fair, reasonable, adequate,

and in the best interest of the settlement class members and should be approved.

           The Parties now request final certification of the settlement class under Fed. R. Civ. P.

23(b)(3) and final approval of the proposed class action settlement.

           This Court has read and considered the Agreement, Motion for Final Approval, and the

record of these proceedings.

           NOW, THEREFORE, IT IS HEREBY ORDERED:

           The Court has jurisdiction over the subject matter of the Lawsuit and over all settling

parties.

           Pursuant to Fed. R. Civ. P. 23(b)(3), the Lawsuit is finally certified, for settlement purposes

only, as a class action on behalf of the following settlement class members with respect to the

claims asserted in the Lawsuit:

              All persons throughout the United States (1) to whom Trendmaker DFW or
              AtlasRTX, on behalf of Trendmaker DFW or Trendmaker Homes, sent, or


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            caused to be sent, a text message, (2) directed to a number assigned to a
            cellular telephone service, (3) from May 30, 2015 through December 11,
            2019, (4) using the AtlasRTX platform/services.

       Pursuant to Fed. R. Civ. P. 23, this Court finally approves Lauren Davis as the class

representative and Aaron D. Radbil, of Greenwald Davidson Radbil PLLC, as class counsel.

       Pursuant to this Court’s Preliminary Approval Order, the approved class action notices

were mailed. The form and method for notifying the settlement class members of the settlement

and its terms and conditions were in conformity with this Court’s Preliminary Approval Order and

satisfied the requirements of Fed. R. Civ. P. 23(c)(2)(B) and due process, and constituted the best

notice practicable under the circumstances. This Court finds that the notice was clearly designed

to advise settlement class members of their rights.

       This Court finds that the settlement class satisfies the applicable prerequisites for class

action treatment under Fed. R. Civ. P. 23, namely:

       A.      The settlement class members are so numerous that joinder of all of them in the

               Lawsuit is impracticable;

       B.      There are questions of law and fact common to the settlement class members, which

               predominate over any individual questions;

       C.      Plaintiff’s claims are typical of the claims of the settlement class members;

       D.      Plaintiff and class counsel have fairly and adequately represented and protected the

               interests of all settlement class members; and

       E.      Class treatment of these claims will be efficient and manageable, thereby achieving

               an appreciable measure of judicial economy, and a class action is superior to other

               available methods for a fair and efficient adjudication of this controversy.




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       This Court finds that the settlement of this action, on the terms and conditions set forth in

the Agreement, is in all respects fundamentally fair, reasonable, adequate, and in the best interest

of the settlement class members, when considering, in their totality, the following factors: the lack

of fraud or collusion behind the settlement; the complexity, expense, and likely duration of the

litigation; the stage of the proceedings and the amount of discovery completed; the probability of

Plaintiff’s success on the merits; Defendants’ defenses; the range of possible recovery; and the

opinions of class counsel. See Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d 632, 639

n.11 (5th Cir. 2012) (quoting Reed v. Gen. Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983)).

       The Court has also considered the following factors in finding that the settlement of this

action, on the terms and conditions set forth in the Agreement, is in all respects fundamentally fair,

reasonable, adequate, and in the best interest of the settlement class members:

       (A)     whether the class representatives and class counsel have adequately
               represented the class;

       (B)     whether the proposal was negotiated at arm’s length;

       (C)     whether the relief provided for the class is adequate, taking into account:

               (i)     the costs, risks, and delay of trial and appeal;

               (ii)    the effectiveness of any proposed method of distributing relief to the
                       class, including the method of processing class-member claims;

               (iii)    the terms of any proposed award of attorney’s fees, including
                       timing of payment; and

               (iv)    any agreement required to be identified under Rule 23(e)(3); and

       (D)     whether the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2).

       The Agreement, which is deemed incorporated into this order, is finally approved and must

be consummated in accordance with its terms and provisions, except as amended by any order


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issued by this Court. The material terms of the Agreement include, but are not limited to, the

following:

       A.      Settlement Fund – Defendants will establish a $1.3 million common fund (the

“Settlement Fund”).

       B.      Deductions - The following are to be deducted from the Settlement Fund before

any other distributions are made:

               a.     The costs and expenses for the administration of the settlement and class

notice, including expenses necessary to identify potential settlement class members;

               b.     Plaintiff’s attorneys’ fees and the reimbursement of class counsel’s

litigation costs and expenses, in the amount of $_____________; and

               c.     Plaintiff will receive $_____________ as acknowledgment of her role in

prosecuting claims on behalf of settlement class members.

       C.      Settlement Payments to Class Members - Each settlement class member who

submitted a valid and timely claim form will receive compensation as set forth in the Agreement.

Each settlement check will be void one-hundred twenty days after issuance.

       D.      Released Claims - All claims for relief, whether known or unknown, suspected

or unsuspected, that arise out of, concern or relate to the Telephone Consumer Protection Act

(“TCPA”) and other related state laws regarding telemarketing and/or the use of an automatic

telephone dialing system to make calls, as of the date of a final Court order approving the

Settlement and dismissing the case with prejudice, and which arise from calls made or text

messages sent by or on behalf of Defendants to Settlement Class Members.




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       The settlement class members were given an opportunity to object to, or seek exclusion

from, the settlement. ___ settlement class members objected to the settlement. ___ settlement class

members made a valid and timely request for exclusion.

       This order is binding on all settlement class members, except the following individuals

who made valid and timely requests for exclusion: ________________.

       Plaintiff, settlement class members, and their successors and assigns are permanently

barred from pursuing, either individually or as a class, or in any other capacity, any of the Released

Claims against any of the Released Parties, as set forth in the Agreement. Pursuant to the Release

contained in the Agreement, the Released Claims are compromised, settled, released, and

discharged, by virtue of these proceedings and this order.

       This final order and judgment bars and permanently enjoins Plaintiff and all members of

the settlement class from (a) filing, commencing, prosecuting, intervening in or participating as a

plaintiff, claimant or class member in any other lawsuit, arbitration or individual or class action

proceeding in any jurisdiction (including by seeking to amend a pending complaint to include class

allegations or seeking class certification in a pending action), relating to the Released Claims, and

(b) attempting to effect opt outs of a class of individuals in any lawsuit or arbitration proceeding

based on the Released Claims, except that settlement class members are not precluded from

addressing, contacting, dealing with, or complying with requests or inquiries from any

governmental authorities relating to the issues raised in this Lawsuit or class action settlement.

       The Lawsuit is hereby dismissed with prejudice in all respects.

       This order, the Agreement, and any and all negotiations, statements, documents, and

proceedings in connection with this settlement are not, and will not be construed as, an admission

by Defendants of any liability or wrongdoing in this or in any other proceeding.



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       This Court hereby retains continuing and exclusive jurisdiction over the parties and all

matters relating to the Lawsuit or Agreement, including the administration, interpretation,

construction, effectuation, enforcement, and consummation of the settlement and this order,

including the award of attorneys’ fees, costs, disbursements, and expenses to class counsel.

       Class counsel’s request for an award of attorneys’ fees of one-third of the settlement fund

is approved as stated on the record.

       Class counsel’s request for reimbursement of reasonable litigation costs and expenses in

the total amount of $_______________ is approved.

       Plaintiff’s request for an incentive award of $_______________ is approved.




IT IS SO ORDERED.

DATED: _______________
                                             ___________________________________
                                             UNITED STATES DISTRICT JUDGE




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           EXHIBIT 4
                    [Mail Notice]
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What is this lawsuit about? Lauren Davis filed this lawsuit against Mindshare Ventures LLC, d/b/a AtlasRTX (“AtlasRTX”),
Trendmaker Homes DFW, L.L.C. (“Trendmaker DFW”), and Trendmaker Homes, Inc. (“Trendmaker Homes”) (collectively,
“Defendants”), alleging (1) that Defendants delivered non-emergency text messages to cellular telephone numbers without having
obtained prior express consent to do so, in violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, and
(2) that Defendants delivered non-emergency advertising and marketing text messages to cellular telephone numbers without
having obtained prior express written consent to do so, in violation of the TCPA. Defendants deny the allegations and deny that
they violated the TCPA. The Court did not decide who is right and who is wrong. The parties have agreed to a settlement.
Why did you receive this notice? You received this notice because Defendants’ records identified you as a potential member of
the following class: All persons throughout the United States (1) to whom Trendmaker DFW or AtlasRTX, on behalf of Trendmaker
DFW or Trendmaker Homes, sent, or caused to be sent, a text message, (2) directed to a number assigned to a cellular telephone
service, (3) between May 30, 2015 and December 11, 2019, (4) using the AtlasRTX platform/services.
What does the settlement provide? Defendants will establish a common settlement fund of $1.3 million. Out of the settlement
fund will be paid: (1) settlement compensation to participating class members; (2) an award of attorneys’ fees not to exceed one-
third of the settlement fund, subject to the Court’s approval; (3) costs and expenses incurred by class counsel litigating claims in
this matter not to exceed $10,000, subject to the Court’s approval; (4) costs of notice and administration not to exceed $55,000;
and (5) an incentive award to Ms. Davis not to exceed $5,000, subject to the Court’s approval. It is estimated that if all class
members submit a valid claim, each claimant will receive approximately $80.00. This amount will increase should less than all
                                                                                                                                        Front Inside
class members submit a valid claim.
What are your legal rights and options? You have four options. First, if you are a member of the class, you may timely complete
and return the claim form found on the backside of this postcard, or timely submit a claim form online at
www.DavisTCPASettlement.com, in which case you will receive a proportionate share of the settlement fund after deducting the
above-listed fees, costs, and expenses, and will release any claim(s) you have against Defendants related to the allegations and
claims in this case. Second, you may do nothing, in which case you will not receive a share of the settlement fund, but, if you are
a class member you will release any claim(s) you have against Defendants related to the claims in this case. Third, you may exclude
yourself from the settlement, in which case you will neither receive a share of the settlement fund, nor release any claim(s) you
have against Defendants. Or fourth, class members may object to the settlement. To obtain additional information about your legal
rights and options, visit www.DavisTCPASettlement.com, or contact the settlement administrator by writing to: Davis v.
Trendmaker Settlement Administrator, [name and address], or by calling [number].
When is the final fairness hearing? The Court will hold a final fairness hearing on [month] [day], 2020, at [time]. The hearing
will take place in the United States District Court for the Southern District of Texas, 515 Rusk Street, Houston, TX 77002. At the
final fairness hearing the Court will consider whether the settlement is fair, reasonable, and adequate and, if so, whether it should
be granted final approval. The Court will hear objections to the settlement, if any. The Court may make a decision at that time,
postpone a decision, or move the hearing to a new date or time.




                                       This is a notice of a settlement of a     Davis TCPA Settlement Administrator
                                               class action lawsuit.
                                        This is not a notice of a lawsuit         [address]                                                Permit
                                                   against you.                   [city], [state] [zip]                                   Info here
                                     If Trendmaker Homes DFW, L.L.C. or
                                     AtlasRTX, on behalf of Trendmaker
                                     Homes DFW, L.L.C. or Trendmaker
                                     Homes, Inc., delivered a text message                 Bar Code To Be Placed Here
                                     to your cellular telephone number,                Postal Service: Please do not mark Barcode
                                     between May 30, 2015 and December
                                     11, 2019, you may be entitled to
                                     compensation as a result of a                                 ADDRESS SERVICE REQUESTED
                                     settlement in the class action lawsuit
Front Outside                        captioned:                                                                 CLAIM ID: << ID>>
                                       Lauren Davis v. Mindshare Ventures                                       <<Name>>
                                        LLC, d/b/a AtlasRTX, Trendmaker                                         <<Address>>
                                      Homes DFW, L.L.C., and Trendmaker                                         <<City>>, <<State>> <<Zip>>
                                      Homes, Inc., Civil Action No. 4:19-cv-
                                                1961 (S.D. Tex.)

                                     A federal court authorized this notice.
                                        This is not a solicitation from a
                                                     lawyer.

                                       Please read this notice carefully. It
                                      summarily explains your rights and
                                     options to participate in a class action
                                                   settlement.
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           EXHIBIT 5
[Preliminary Approval Order]
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  UNITED STATES DISTRICT COURT                           SOUTHERN DISTRICT OF TEXAS


Lauren Davis, on behalf of herself and  §
others similarly situated,              §
                                        §
      Plaintiff,                        §
                                        §
vs.                                     §                     Civil Action No. 4:19-cv-1961
                                        §
Mindshare Ventures LLC, d/b/a AtlasRTX, §
Trendmaker Homes DFW, L.L.C., and       §
Trendmaker Homes, Inc.,                 §
                                        §
      Defendants.                       §


          [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT

         This Court having been advised that the parties to this action, Lauren Davis (“Plaintiff” or

“Class Representative”), and Mindshare Ventures LLC, d/b/a AtlasRTX (“AtlasRTX”),

Trendmaker Homes DFW, L.L.C. (“Trendmaker DFW”), and Trendmaker Homes, Inc.

(“Trendmaker Homes”) (collectively, “Defendants”), through their respective counsel, have

agreed, subject to this Court’s approval following notice to the settlement class members and a

hearing, to settle the above-captioned lawsuit (“Lawsuit”) upon the terms and conditions set forth

in the parties’ class action settlement agreement (“Agreement”), which Plaintiff filed with this

Court:

         NOW, THEREFORE, based upon the Agreement and all of the files, records, and

proceedings in this matter, and it appearing to this Court that, upon preliminary examination, the

proposed settlement appears fair, reasonable, and adequate, and that a hearing should and will be

held on __________________________, 2020, after notice to the settlement class members, to

confirm that the proposed settlement is fair, reasonable, and adequate, and to determine whether a
                                                  1
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final order and judgment should be entered in this Lawsuit:

           IT IS HEREBY ORDERED:

           This Court has jurisdiction over the subject matter of the Lawsuit and over all settling

parties.

           In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d), 1453,

and 1711-1715, Defendants, through a claims administrator, will cause to be served written notice

of the proposed class settlement on the United States Attorney General and the Attorneys General

of each state in which any settlement class member resides.

           This Court conditionally certifies this case as a class action under Rule 23(b)(3) of the

Federal Rules of Civil Procedure, on behalf of the following settlement class:

                All persons throughout the United States (1) to whom Trendmaker DFW or
                AtlasRTX, on behalf of Trendmaker DFW or Trendmaker Homes, sent, or
                caused to be sent, a text message, (2) directed to a number assigned to a
                cellular telephone service, (3) from May 30, 2015 through December 11,
                2019, (4) using the AtlasRTX platform/services.

           Defendants identified a total of approximately 9,863 settlement class members.

           This Court appoints Lauren Davis as the representative for the settlement class, and

appoints Aaron D. Radbil, of Greenwald Davidson Radbil PLLC, as class counsel.

           This Court preliminarily finds, for settlement purposes only, that this action satisfies the

applicable prerequisites for class action treatment under Rule 23, namely:

           A.      The settlement class members are so numerous and geographically dispersed that

joinder of all of them is impracticable;

           B.      There are questions of law and fact common to the settlement class members, which

predominate over any individual questions;

           C.      Plaintiff’s claims are typical of the claims of the settlement class members;

                                                    2
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         D.     Plaintiff and class counsel have fairly and adequately represented and protected the

interests of all of the settlement class members; and

         E.     Class treatment of these claims will be efficient and manageable, thereby achieving

an appreciable measure of judicial economy, and a class action is superior to other available

methods for a fair and efficient adjudication of this controversy.

         This Court preliminarily finds that the settlement of the Lawsuit, on the terms and

conditions set forth in the Agreement, is in all respects fundamentally fair, reasonable, adequate,

and in the best interest of the settlement class members, especially in light of: the lack of fraud or

collusion behind the settlement; the complexity, expense, and likely duration of the litigation; the

stage of the proceedings and the amount of discovery completed; Defendants’ defenses; the

probability of Plaintiff’s success on the merits; the range of possible recovery; and the opinions of

class counsel. See Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d 632, 639 n.11 (5th Cir.

2012) (quoting Reed v. Gen. Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983)).

         This Court also considered the following factors in preliminarily finding that the settlement

of this action, on the terms and conditions set forth in the Agreement, is in all respects

fundamentally fair, reasonable, adequate, and in the best interest of the settlement class members:

         (A)    whether the class representatives and class counsel have adequately represented the
class;

         (B)    whether the proposal was negotiated at arm’s length;

         (C)    whether the relief provided for the class is adequate, taking into account:

                (i)     the costs, risks, and delay of trial and appeal;

                (ii)    the effectiveness of any proposed method of distributing relief to the class,
                        including the method of processing class-member claims;

                (iii)   the terms of any proposed award of attorney's fees, including timing of
                        payment; and
                                                   3
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               (iv)    any agreement required to be identified under Rule 23(e)(3); and

       (D)     whether the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2).

       A third-party settlement administrator—KCC, LLC—will administer the settlement and

notification to the settlement class members. The settlement administrator will be responsible for

mailing the approved class action notices and settlement checks to the settlement class members.

All reasonable costs of notice and administration will be paid from the $1.3 million common

settlement fund.

       This Court approves the form and substance of the proposed notice of the class action

settlement, which includes the postcard notice, the detachable claim form, and the question-and-

answer notice to appear on the dedicated settlement website.

       The proposed notice and method for notifying the settlement class members of the

settlement and its terms and conditions meet the requirements of Rule 23(c)(2)(B) and due process,

constitute the best notice practicable under the circumstances, and constitute due and sufficient

notice to all persons and entities entitled to the notice. See Fed. R. Civ. P. 23(c)(2)(B); Manual For

Complex Litigation § 21.312; see, e.g., Williams v. Bluestem Brands, Inc., No. 8:17-cv-1971-T-

27AAS, 2019 WL 1450090, at *2 (M.D. Fla. Apr. 2, 2019); James v. JPMorgan Chase Bank, N.A.,

No. 8:15-cv-2424-T-23JSS, 2016 WL 6908118, at *2 (M.D. Fla. Nov. 22, 2016).

       This Court additionally finds that the proposed notices are clearly designed to advise the

settlement class members of their rights.

       In accordance with the Agreement, the settlement administrator will mail the notices to the

settlement class members as expeditiously as possible, but in no event later than 30 days after this

Court’s entry of this order, i.e., no later than _____________________, 2020.
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       Any settlement class member who desires to be excluded from the settlement must send a

written request for exclusion to the settlement administrator with a postmark date no later than 75

days after the Court’s entry of this order, i.e., no later than ______________________, 2020. To

be effective, the written request for exclusion must state the settlement class member’s full name,

address, telephone number to which text messages were sent, and email address (if available),

along with a statement that the settlement class member wishes to be excluded, and must be signed

by the settlement class member. Any settlement class member who submits a valid and timely

request for exclusion will not be bound by the terms of the Agreement. Any settlement class

member who fails to submit a valid and timely request for exclusion will be considered a settlement

class member and will be bound by the terms of the Agreement.

       Any settlement class member who intends to object to the fairness of this settlement must

file a written objection with the Court within 75 days after the Court’s entry of this order, i.e., no

later than ________________________, 2020. Further, any such settlement class member must,

within the same time period, provide a copy of the written objection to class counsel, attention:

Aaron D. Radbil, Greenwald Davidson Radbil PLLC, 401 Congress Ave., Ste. 1540, Austin, TX

78701, and counsel for Defendant, attention: Ana Tagvoryan, Blank Rome LLP, 2029 Century

Park East, 6th Floor, Los Angeles, CA 90067.

       To be effective, a notice of intent to object to the settlement must include the settlement

class member’s:

               a.      Full name;

               b.      Address;

               c.      Current telephone number;

            d.      Telephone number            texted   by    Defendants,     demonstrating
       membership in the settlement class;

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               e.      Statement demonstrating membership in the settlement class;

               f.     Identification of any documentation demonstrating membership in
       the settlement class;

               g.      A statement of the specific objection(s);

               h.      A description of the facts underlying the objection(s);

               i.      The grounds for the objection(s);

               j.     A list of all witnesses the settlement class member intends to call by
       live testimony, deposition testimony, or affidavit or declaration testimony;

               k.      A list of exhibits the settlement class member intends to present; and

              l.       A statement noting whether the settlement class member intends to
       appear at the fairness hearing.

       Any settlement class member who has timely filed an objection may appear at the final

approval hearing, in person or by counsel, to be heard to the extent allowed by this Court, applying

applicable law, in opposition to the fairness, reasonableness and adequacy of the proposed

settlement, and on the application for an award of attorneys’ fees and costs. Any objection that

includes a request for exclusion will be treated as an exclusion. And any settlement class member

who submits both an exclusion and an objection will be treated as having excluded himself or

herself from the settlement, and will have no standing to object.

       If this Court grants final approval of the settlement, the settlement administrator will mail

a settlement check to each settlement class member who submits a valid, timely claim.

       The Court will conduct a final approval hearing on _____________________, 2020, at the

U.S. District Court for the Southern District of Texas, 515 Rusk Street, Houston, TX 77002, to

review and rule upon the following issues:

       A.      Whether this action satisfies the applicable prerequisites for class action treatment

               for settlement purposes under Rule 23;


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       B.      Whether the proposed settlement is fundamentally fair, reasonable, adequate, and

               in the best interest of the settlement class members and should be approved by the

               Court;

       C.      Whether a final order and judgment, as provided under the Agreement, should be

               entered, dismissing the Lawsuit with prejudice and releasing the released claims

               against the released parties; and

       D.      To discuss and review other issues as the Court deems appropriate.

       Attendance by settlement class members at the final approval hearing is not necessary.

Settlement class members need not appear at the hearing or take any other action to indicate their

approval of the proposed class action settlement. Settlement class members wishing to be heard

are, however, required to appear at the final approval hearing. The final approval hearing may be

postponed, adjourned, transferred, or continued without further notice to the class members.

       Memoranda in support of the proposed settlement must be filed with this Court no later

than thirty days before the final approval hearing i.e., no later than ____________________,

2020. Opposition briefs to any of the foregoing must be filed no later than fourteen days before

the final approval hearing, i.e., no later than ____________________, 2020. Reply memoranda

in support of the foregoing must be filed with this Court no later than seven days before the final

approval hearing, i.e., no later than ____________________, 2020.

       Memoranda in support of any petitions for attorneys’ fees and reimbursement of costs and

expenses by class counsel, or in support of an incentive award, must be filed with the Court no

later than thirty days before the deadline for settlement class members to object to, or exclude

themselves from, the settlement (or forty-five days after the Court’s entry of this Order), i.e., no

later than ____________________, 2020. Opposition briefs to any of the foregoing must be filed

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no later than thirty days thereafter, i.e., no later than ____________________, 2020. Reply

memoranda in support of the foregoing must be filed with this Court no later than fourteen days

after the deadline for settlement class members to object to, or exclude themselves from, the

settlement.

        The Agreement and this order will be null and void if any of the parties terminates the

Agreement per its terms. The events described in the Agreement, however, provide grounds for

terminating the Agreement only after the parties have attempted and completed good faith

negotiations to salvage the settlement but were unable to do so, with the exception of Section

III.D.4 related to opt-outs.

        If the Agreement or this order are voided, then the Agreement will be of no force and effect

and the parties’ rights and defenses will be restored, without prejudice, to their respective positions

as if the Agreement had never been executed and this order never entered.

        The Court retains continuing and exclusive jurisdiction over the action to consider all

further matters arising out of or connected with the settlement, including the administration and

enforcement of the Agreement.

        The Court sets the following schedule:

Date                    Event

                        Preliminary Approval Order Entered

                        Notice Sent (thirty days after entry of Preliminary Approval
                        Order)

                        Attorneys’ Fees Petition Filed (forty-five days after entry of Preliminary
                        Approval Order)

                        Opposition to Attorneys’ Fees Petition (seventy-five days after entry of
                        Preliminary Approval Order)

                        Deadline to Submit Claims, Send Exclusion, or File Objection (seventy-
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                    five days after entry of Preliminary Approval Order)

                    Reply in Support of Attorneys’ Fees Petition (fourteen days after the
                    deadline for settlement class members to submit claims, object to, or
                    exclude themselves from, the settlement)

                    Motion for Final Approval Filed (thirty days before final approval
                    hearing)

                    Opposition to Motion for Final Approval Due (fourteen days before final
                    approval hearing)

                    Reply in support of Motion for Final Approval (seven days before final
                    approval hearing)

                    Final Approval Hearing Held


IT IS SO ORDERED.

Dated:

                    _______________________________________
                    UNITED STATES DISTRICT COURT JUDGE




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